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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                     v.
                                                  19 Cr. 382 (JS)
MATHEW JAMES,

                               Defendant.




         DEFENDANT MATHEW JAMES’S SENTENCING SUBMISSION




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                                       INTRODUCTION

       Mathew James is a devoted husband, father, son, and brother. He is a beloved and

supportive friend, neighbor, and churchgoer. Mr. James dedicated over 20 years to working as a

nurse – more than five years in Germany and South Dakota and more than 15 years on Long

Island. He cared for thousands of sick patients and trained numerous other nurses. From a

modest upbringing in India, to starting over in the United States while sharing a one-room

apartment in South Dakota as he obtained a nursing degree, to working as an operating room

nurse on Long Island, to starting his own business, Mr. James has always been willing to lend a

hand and put his patients, family, friends, and neighbors above himself. And for approximately

14 years before his arrest in July 2019, Mr. James cared for his elderly parents who lived with

Mr. James and his family.

       Now 56 years old, Mr. James knows that his otherwise remarkable life will be forever

tainted by his conduct that led to his prosecution and conviction. Mr. James blames no one else

for the hurt and damage that he has caused. He sincerely and deeply regrets his misguided phone

calls and communications with insurance companies in which he pretended to be patients in an

effort to maximize and expedite payments for the genuine medical services provided by his

doctor-clients. But these “impersonation” recordings and communications – which were a small

part of his work as a medical biller and an even smaller fraction of his lifetime of good deeds –

are an aberration to who Mr. James is as a person. The dozens of letters from his family, friends,

former colleagues, and neighbors depict who Mr. James has been and always will be: a caring

and decent person who put others first even when no one else was looking. Mr. James is worthy

of a second chance – a chance he will not have if he spends years behind bars.




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        Despite the difficult four and a half years since Mr. James’s arrest, in which his life has

been both turned upside down and in a state of suspension, his family has been the light of his

life. His primary hope and dream has always been to make a better future for his children, and

he is proud to watch them excel in college and beyond. But he knows the devastating and

permanent impact that his conduct and the resulting prosecution has had, in particular, on his

wife, daughter, and son, and Mr. James humbly comes before this Court with a focus on his

family and their future.

        For the reasons set forth in detail below, an advisory Guidelines sentence of life, as well

as Probation’s recommendation of 180 months, do not remotely serve the interests of justice or

the U.S.S.G. § 3553(a) factors. Taking into account: (i) Mr. James’s unique and extraordinary

history and characteristics; (ii) his full compliance with all terms of his pretrial release for four

and a half years; (iii) the consequences Mr. James has already faced and will face as a result of

this prosecution and conviction; (iv) the fact that the loss amount probation proposes based on

the government’s theory is vastly overstated, incorrectly calculated, inconsistent with the

evidence at trial, and overweighted in the Guidelines analysis; and (v) the astonishing and

disturbing disparity between Mr. James’s prosecution and punishment and the non-existent

consequences for the 150 alleged, uncharged co-conspirator doctors, a significantly below-

Guidelines sentence is warranted. The mandatory minimum sentence of 24 months’

imprisonment is sufficient but not greater than necessary to satisfy the objectives of sentencing

Mr. James.

I.      LIFE AND BACKGROUND

        A.      Mr. James’s Childhood in India

        Mr. James’s life began in Bombay, India, where he was born in 1967. PSR ¶ 59. He

experienced a mostly happy upbringing in a close, supportive family, which consisted of his


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parents and older brother, John. Id. ¶ 60. The two brothers were inseparable friends who

“shared everything.” Ex. 5 (J. James Letter). During academic terms, young Mr. James was a

diligent student who applied himself and was also known for his athletic talent on the school

cricket team. Mr. James and his brother spent summers with their grandparents in a rural area of

India called Kerala, where they played with cousins and were surrounded by extended family

who lived in the area. Ex. 4 (A. James Letter). The Kerala region was, and still is, home to the

Knānāya community, a religious and ethnic minority group to which Mr. James’s family

belongs. From an early age, Mr. James’s Knānāya identity and Catholic faith were crucial

influences on his character and family structure. Growing up, his family attended church every

Sunday, a tradition Mr. James continues with his family to this day. Id.; PSR ¶ 60.

       Even though throughout his childhood, Mr. James’s family was part of the Indian middle-

class, his parents occasionally struggled to make ends meet. His father, Cherumoodu, worked as

a clerk for India’s state-owned nuclear research center before retiring and operating a trucking

company. Mr. James’s mother, Annamma, had a lengthy career as a devoted nurse. Ex. 4 (A.

James Letter); Ex. 5 (J. James Letter); PSR ¶ 60. At times, it was hard for Mr. James’s parents

and later his older brother to find steady employment in India. To provide for her family during

one such downturn, when Mr. James was five, his mother relocated to Germany to work as a

nurse. During the three years that Mr. James’s mother was living abroad, Mr. James’s father

became the primary caregiver of him and his brother. Mr. James’s mother’s posting in Germany

allowed his family to become more financially stable. During that time, however, the family did

not have access to a telephone, so Mr. James and his brother wrote letters to their mother to stay

in contact. PSR ¶ 60.




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       When Mr. James was twelve, his father moved their family from Bombay to Kerala, to be

closer to their aging grandparents, relatives, and the broader Knānāya community. Although Mr.

James had enjoyed many summers in Kerala, the transition to the more rural state was difficult.

As Mr. James entered his teenage years, he struggled with the new pace of his education, the

shift in culture, and the general atmospheric contrast between Bombay and Kerala. In moments

of loneliness, however, Mr. James was uplifted by support and guidance from his parents, as well

as his older brother. His parents, who imparted their strong, shared moral compass onto their

sons, reminded them that hard work and familial support were the most crucial elements in life.

Ex. 5 (J. James Letter); PSR ¶ 60. When the family had little in terms of material possessions,

Mr. James knew that he was still loved by the people around him; in particular, Mr. James’s

older brother, John, was always able to console Mr. James when he was feeling upset. Id.

       B.      Mr. James’s Path to Germany and South Dakota

       When Mr. James was a child, his uncle left for the United States. When his uncle would

return to India for visits, he would tell Mr. James and his brother stories about life in the United

States, which he described as “the land of opportunity.” Throughout his childhood in India, Mr.

James dreamed of being able to join his uncle in the United States to pursue an education and

start a professional career. Nevertheless, Mr. James’s life continued in India, where he graduated

from high school, and completed two years of college. Upon his graduation, he began working

in construction with his older brother. PSR ¶ 61.

       In his early twenties, Mr. James heard about an opportunity to enroll in a nursing

program in Germany. Despite not knowing German and without a strong interest in healthcare at

that time, Mr. James applied for the position. Id. After being accepted, he moved to Haan, a

town in western Germany, enrolled in a nursing certificate program, and worked at St. Josef




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Krankenhaus Haan, a hospital in Haan. Ex. 4 (A. James Letter); Ex. 5 (J. James Letter). Mr.

James enjoyed caring for patients and found the work challenging and fulfilling. PSR ¶ 61.

       Mr. James did not know anyone when he first moved to Germany, but the next four years

were among the happiest of his life. During his first year there, he studied German while

working as an aide at St. Josef. The following year, he was accepted into the hospital’s nursing

program and spent the next three years studying nursing while working as a training nurse at St.

Josef. In that role, Mr. James was responsible for any patient that came to St. Josef for

treatment. In addition to his training and studies, Mr. James helped patients take care of

themselves, assisted them with their meals and daily activities, and completed a number of

different nursing rotations. Caring for patients quickly became Mr. James’s passion. He enjoyed

everything about his nursing program and his experience in Germany. Id.

       Around 1994, while Mr. James was still in Germany, his older brother, John, relocated to

study in the United States. Before Mr. James completed his final nursing exams in Germany,

John suggested that Mr. James join him in South Dakota. Mr. James struggled with the decision

to leave Germany before he had completed his exams, but ultimately decided to move to the

United States, which he believed would put him on the path to a successful future and reunite

him with his brother. Additionally, Mr. James understood that he and John would be better able

to help support his family in India, and potentially sponsor them in the United States, if he

relocated to live with John in South Dakota. In 1995, Mr. James obtained a student visa and

joined John in Rapid City, South Dakota. Ex. 5 (J. James Letter); PSR ¶ 61. There, Mr. James

enrolled in an associate degree program in nursing at the University of South Dakota. Given that

his German education did not transfer to the United States, Mr. James essentially had to restart

his nursing education from scratch. Ex. 5 (J. James Letter); Ex. 4 (A. James Letter).




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       After Mr. James had finally assimilated into life in Germany, he again had to start over,

and struggled during his second significant move to a new country where he had no real network.

Mr. James spoke little English and lacked a financial safety net when he arrived in South Dakota.

These early years in the United States were extremely difficult, and Mr. James regularly teetered

on the edge of poverty. In addition to having to learn the language and his nursing classes, Mr.

James worked multiple campus jobs to pay for his tuition and support himself through school.

Ex. 4 (A. James Letter); PSR ¶ 61. Mr. James, John, and John’s wife, Lenny, only had enough

money to rent a single room together. The three students would skip meals when they could not

afford to purchase food. In the winter, they could not always afford heat, and to warm the frigid

apartment, Mr. James would turn on the oven and sleep next to it. And the primary mode of

transportation that Mr. James had access to was a bicycle – often causing Mr. James, John, and

Lenny to wrap plastic bags around their feet when leaving the house, so that snow did not soak

through their shoes. Ex. 5 (J. James Letter). Mr. James remembers thinking how different his

life in South Dakota was from the stories his uncle had shared with him as a child and from how

he imagined his future would be if he ever came to the United States. PSR ¶ 61.

       Despite Mr. James’s own meager conditions, he still served those around him. Mr. James

volunteered with the local Well Baby program while in nursing school, where he helped with

group programs for high-risk pregnant women in low-income communities. He also worked as

an aide for an elderly stroke patient and accompanied senior neighbors to appointments and

through other daily activities. Ex. 5 (J. James Letter).

       Mr. James redoubled his efforts to graduate so that he could begin working in the field he

loved and support his family. He successfully completed the three-year nursing program in two

years, all while working and supporting his brother and sister-in-law as they completed their




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educations as well. Id.; Ex. 4 (A. James Letter). With Mr. James’s encouragement, John was

eventually able to complete medical school. In his letter to the Court, John reflects, “Despite his

limited means at that time . . . [Mathew] supported us financially, helping us with rent and

essential expenses and always making sure that [our] kids had everything they needed.” Ex. 5 (J.

James Letter).

       Mr. James’s early experiences in nursing defined the rest of his twenty-plus year career in

the healthcare industry. After completing a nursing preceptorship in the operating room at Rapid

City Regional Hospital, Mr. James was invited to remain as a full-time nurse, where he was

assigned to both the Operation Room and the Neurosurgery teams. For the following year, Mr.

James worked as a nurse at Rapid City Regional Hospital.

       C.        Mr. James’s Work and Life in New York

       After meeting his wife, Reena, who is also a nurse, Mr. James relocated to New York and

joined her as a nurse at Huntington Hospital in Long Island from 1998 until 2013. PSR ¶¶ 62,

92, 93. During his fifteen years at Huntington Hospital, Mr. James worked primarily as an

operating room nurse, where he was responsible for assisting surgeons with any surgeries that

came in the door, ranging from eye surgeries to spinal surgeries and everything in between. Mr.

James found the work to be rewarding and challenging. He enjoyed helping prepare patients for

operations and felt enormous satisfaction seeing patients who had been admitted with life-

threatening conditions be released from the hospital and go home.

       Mr. James was known by his Huntington colleagues as an “incredible nurse and patient

advocate” with “exceptional clinical skills and [a] true caring nature.” Ex. 30 (R. Velez Letter);

Ex. 14 (M. De Marco Letter). He provided “optimal care for [] patients” by establishing best

practices, including through a volunteer group that sought to change the process for collecting

and transporting surgical specimens to the lab, which won him and his colleagues the Northwell


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Innervation Award. Ex. 15 (E. Dobson Letter). A dedicated team player, Mr. James routinely

stepped in to cover his colleagues’ shifts when they faced conflicts, and he provided

encouragement and support to younger staff members as they pursued nursing degrees and

searched for full-time nursing positions. Ex. 14 (M. De Marco Letter); Ex. 15 (E. Dobson

Letter); Ex. 29 (M. Sanchez Maharaj Letter); Ex. 30 (R. Velez Letter).

       Mr. James’s former supervisor described him as being someone on whom she could

always rely, particularly “to work overtime when [they] were short staffed or when emergency

cases would be added to [their] original schedule.” Ex. 15 (E. Dobson Letter). He regularly took

time out of his day to comfort colleagues, including one whose son was working at the World

Trade Center on September 11; Mr. James sat with his colleague throughout the day, providing

“emotional support and comfort,” until she heard that her son was safe. Id. During this time,

Mr. James also juggled many positions at different area hospitals, including as a nurse in the

psychiatric unit at Huntington Hospital, and an operating room nurse at several other local

hospitals, including in Syosset and Great Neck. PSR ¶ 92.

       After years of working as a nurse, in the early 2000s, a colleague at Huntington Hospital

who worked in medical billing encouraged Mr. James to explore a career in the field. Mr. James

took a single certificate course in billing at Molloy College in 2006. In 2007, a physician Mr.

James worked with mentioned that they were looking for assistance with their medical billing.

Although Mr. James had no prior professional experience with medical billing, he saw the

industry as an opportunity to combine his passion for healthcare with his long-held dream of

starting his own business and his desire to better provide for his family in the United States and

in India. In 2007, he started his medical billing business, Leale Co., out of the basement of his

family home, where he worked until his arrest in July 2019. PSR ¶ 91.




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       Since his arrest, Mr. James has been fully compliant with the terms of his release and he

has shifted his focus to supporting Reena, who resumed working as a full-time nurse, and being

available for his young adult children whenever they need him. Id. ¶¶ 63, 69.

       D.      Mr. James’s Family

       Mr. James cares deeply about his family. While living in South Dakota, Mr. James met

his future wife, Reena, who was working as a nurse at Huntington Hospital. Mr. James and

Reena’s marriage was arranged by their families, who both belong to the Knānāya community.

The families introduced Reena and Mr. James to each other through a mutual friend. Ex. 3 (R.

James Letter); Ex. 6 (Placheril Family Letter). From the beginning, Reena appreciated Mr.

James’s background as a nurse and saw the love and care that radiated through Mr. James’s

immediate family. Ex. 3 (R. James Letter). In 1998, Mr. James and Reena decided to get

married and moved to Long Island, where they could remain close to Reena’s parents and

family. PSR ¶¶ 62, 69.

       Mr. James and Reena formed a deep bond. Mr. James deeply admires Reena’s genuine

and down-to-earth nature. Together, Mr. James and Reena have raised two wonderful children

who they cherish: Milenia, who was born in 2000, and Evan, who was born in 2004. In addition

to working as a nurse at various times, Reena was the primary caretaker of the children before

they went to college. Reena has appreciated how Mr. James’s dedication to and respect for her

as a husband has transformed into unconditional love and encouragement for their children as a

father. Ex. 3 (R. James Letter).

       As everyone in their family and community can attest, Mr. James’s children are the

center of his universe.




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                                     Mr. James decided that, after a difficult beginning to her life,

he would not waste a day of it. As one small example of that, some of Milenia’s favorite

childhood memories include her dad teaching her how to ride a bicycle. Ex. 1 (Milenia James

Letter). As for Evan, he describes how Mr. James’s devotion, care, and love helped

                                                                                     Ex. 2 (E. James

Letter).

                                                                                           Id.

           Even when Mr. James faced 24-hour shifts in the operating room, he spent time with his

children as they finished homework or played in the backyard as a family. Ex. 6 (Placheril

Family Letter). According to Reena, Mr. James “never missed a tennis match, soccer game or

track meet.” Ex. 3 (R. James Letter). Later, when the children entered young adulthood, Mr.

James was his children’s biggest advocate throughout the college admissions process, a time that

was particularly stressful for Milenia. This support ultimately led to Milenia’s application to

New York University, where she was accepted, and from where she graduated in 2022. Ex. 1

(Milenia James Letter). Mr. James and Reena’s shared devotion to their children has not gone

unnoticed by neighbors, who credit their parenting and strong family values for creating the

individuals who Milenia and Evan are today. The two James children are known in their

neighborhood and among friends for their mature engagement with adults, respect for those

around them, commitment to academics, friendly and warm attitudes, and well-rounded

characters. Ex. 12 (K. Bullis-Byrd Letter); Ex. 13 (J. Covello Letter); Ex. 16 (P. Dotzler Letter);

Ex, 20 (D. Gelchie Letter); Ex. 21 (J. Gelchie Letter); Ex. 22 (E. Hogan Letter); Ex. 24 (D. Kern

Letter).




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       Mr. James’s care for his loved ones has always extended beyond his immediate family.

Various cousins, in-laws, and other family relatives all contributed heartfelt letters in support of

Mr. James that capture the significance of Mr. James in their lives. At family gatherings and

holiday parties, Mr. James lifts everyone’s spirits. Ex. 10 (V. Varghese Letter). But, for these

relatives, Mr. James’s character is defined by his generosity and selflessness. His cousin, Ancy,

and her husband, Lajan, have described Mr. James’s dedication to their family upon moving to

the United States from India in 2009. Motivated to prevent his family members from being

overcome by the harsh obstacles he faced after his own immigration, Mr. James ensured that the

family was enrolled in health coverage, and he helped Lajan and Ancy connect with their

respective industry networks in the United States to obtain steady employment. Ex. 8 (L. Jose

Letter); Ex. 9 (A. Joseph Letter). Both of Mr. James’s sisters-in-law, Leena and Viji, describe

Mr. James as a champion for their educational and professional pursuits, as he has always

provided encouragement during stressful academic terms and, for Viji, a successful reference to

a nursing job that she still holds today. Ex. 7 (George Family Letter); Ex. 10 (V. Varghese

Letter). In 2008, when Mr. James’s mother-in-law, Leela,



                                                                                                   Ex. 6

(Placheril Family Letter); Ex. 3 (R. James Letter).



                                                                                       Ex. 5 (J.

James Letter); Ex. 4 (A. James Letter).

       Even since his arrest and despite the resulting obstacles, Mr. James still maintains his

connections with his extended family and is an active supporter in their lives. But, without a




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doubt, Mr. James’s number one priority is his wife, Reena, and their two children, Milenia and

Evan. His children and wife attended almost the entirety of his trial and have remained at his

side during this extremely challenging period. Milenia, who is now 23,

                                     Evan, who is 19,

                                            PSR ¶ 64. Mr. James is extremely proud of both of

his children, who know that Mr. James is there for them whenever they need his advice and

support. Ex. 1 (Milenia James Letter); Ex. 2 (E. James Letter).

        E.     Mr. James Has Faced Familial and Personal Hardships

        Mr. James and Reena’s marriage has been marked by periods of family hardship and

tragedy. Earlier in Mr. James’s life, his mother, Annamma,




                Ex. 4 (A. James Letter); PSR ¶ 65. As soon as Mr. James could, he sponsored

both of his parents to immigrate to the United States so he could care for them at his home in

New York. Ex. 3 (R. James Letter). Not long after his parents moved to the United States in

2006,

              Ex. 5 (J. James Letter); Ex. 3 (R. James Letter).

        Throughout the next fourteen years, Mr. James was primarily responsible for both of his

elderly parents, who moved in with Mr. James and his family, including communicating with

their doctors, managing their medical and personal appointments, financing their needs, and

physically caring for them at home. Ex. 1 (Milenia James Letter); Ex. 3 (R. James Letter); Ex. 5

(J. James Letter); Ex. 6 (Placheril Family Letter); Ex. 16 (P. Dotzler Letter); Ex. 17 (L. Fasano);

Ex. 18 (M. Fasano Letter); Ex. 20 (D. Gelchie Letter); Ex. 21 (J. Gelchie Letter); Ex. 28 (G.

Pomerantz Letter). While both of Mr. James’s parents struggled with the transition to life in the


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frequent supporter of local campaigns and fundraisers for various organizations, including the

local Scouts, the Leukemia & Lymphoma Society, the Endometriosis Foundation of America,

and local pantry drives. Ex. 18 (M. Fasano Letter); Ex. 26 (S. London Letter). Since the trial’s

conclusion, Mr. James has made efforts to continue giving back to the local community by

volunteering at the Christ Lutheran Church in Northport. In this capacity, Mr. James assists the

elderly members of the congregation during the Fellowship gatherings on Sunday mornings. He

also volunteers his time to help with fundraisers at the church. Ex. 31 (Christ Lutheran Church

Letter).

           G.       Mr. James Turns to Alcohol As He Struggled To Juggle Family, Business,
                    and His Arrest

           Over the last two decades, Mr. James juggled caring for his parents, raising a family,

working as a nurse, and then starting and running his medical billing business. As the stresses of

his job and family grew, and well before his arrest in this case, Mr. James began to rely on

alcohol more and more as a coping mechanism,

                often hiding his drinking from his family and drinking excessively on weekends. PSR

¶ 80. After his arrest, Mr. James’s stress grew considerably. In addition to facing serious federal

charges, Mr. James’s personal and professional reputations are ruined. He worried about

supporting his family and what they thought of him now that he had been arrested. He spent

time in jail, was facing a lengthy prison sentence, and could see firsthand the effect that the

charges and trial were having on Reena and their children. Due to feeling increasingly

overwhelmed and hopeless, Mr. James resorted to drinking even more.

           After the conclusion of his trial, and with the help and support of his friends and family,

Mr. James took the first steps towards getting his drinking under control. Recognizing the

personal and professional harm his alcohol consumption has caused, Mr. James enrolled in both



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group and individual therapy. His substance abuse therapy sessions have helped Mr. James

manage his drinking and identify better coping mechanisms throughout the remainder of 2022

and 2023. PSR ¶ 77, 78, 80. While Mr. James still struggles, he hopes to enroll in programs in

prison to help him maintain his sobriety.

       H.      This Prosecution Has Already Had Significant Consequences for Mr. James
               and His Family

       Though Mr. James knows that it was his conduct that led to this moment, the instant

charges and conviction have had a devastating and indelible impact on Mr. James and his family.

Mr. James was on pre-trial release for nearly three years before his trial, and it has been 18

months since his trial ended. The business and relationships that Mr. James spent years building

have been eliminated. Mr. James has not worked since his arrest, and his job prospects are dim,

at best. Mr. James has lost years of his adult life and is frightened by the uncertainty the future

holds. PSR ¶ 78. Also terrified and suffering are Reena, their children, and the rest of his

family. Sentencing Mr. James now to a lengthy period of incarceration will only exacerbate

these struggles unnecessarily.



                                     Ex. 1 (Milenia James Letter); Ex. 4 (A. James Letter).

Milenia attended every day of Mr. James’s trial, and now approaches the date of his sentencing

with fear. PSR ¶ 64.

                            Ex. 4 (A. James Letter). Similarly, Evan spent the last years of high

school anticipating his father’s trial, and then started his first semester of college weeks after Mr.

James’s conviction. His experience as a young adult is tainted by the criminal case against his

father. Already,

                         PSR ¶ 69.



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                             Ex. 1 (Milenia James Letter); Ex. 2 (E. James Letter); Ex. 4 (A. James

Letter).

           Similarly, Mr. James’s mother, who had to move to Texas following his arrest, misses her

son and is devastated by the current circumstances: “Our family is crumbling.” Ex. 4 (A. James

Letter). Elderly and in poor physical condition, Mr. James’s mother is unable to travel to see Mr.

James or his family in New York and grieves the loss of family gatherings and once-frequent

visits. Her only hope is to be able to spend time with Mr. James in the last years of her life, a

prospect that is challenged by the possibility of a long prison sentence. Id.

           Holding the family together is Reena, who has been supporting her family and husband

through the “nightmare [of] these last three years.” Ex. 3 (R. James Letter). Given the seizure

and anticipated forfeiture and restitution of Mr. James’s assets, Reena faces the burden of

sustaining the family for the rest of their lives, fearing that Mr. James “will come out of prison

barely able to support himself, much less a family.” PSR ¶ 69; Ex. 3 (R. James Letter).

Although Reena has always been able to see the positive in everything – and believes that, with

love, Mr. James and her family may move forward – she is overcome by the imminent emotional

and financial challenges that her family faces. Id.

           As stated above, Mr. James blames only himself for this devastating prospect and for the

shame and uncertainty he has brought on his family. That said, the James family has made its

best efforts to come together since 2019 to face the outcome of Mr. James’s prosecution. In

stepping back from work, and later seeking alcohol treatment, Mr. James has tried to strengthen

his relationship with his family. But there still looms the likelihood that Milenia and Evan will

have to navigate years of their young adulthood without their father present. And, given his




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presence throughout their lives, this prospect is devastating. Ex. 1 (Milenia James Letter); Ex. 2

(E. James Letter); Ex. 3 (R. James Letter); Ex. 4 (A. James Letter).

       It is important to note that Mr. James has been fully cooperative with the government’s

forfeiture efforts. Just as Mr. James assisted the FBI in its raid of his properties at the time of his

arrest in July 2019 – providing passwords to his devices and instructions on accessing his server

– Mr. James complied with the government’s seizures surrounding his accounts and properties,

maintaining timely and complete recordkeeping of the sales of the properties. Tr. 2406–13

(Tumulty). Currently, the government has over $32 million dollars in seized bank accounts held

by Mr. James, as well as from properties that Mr. James has sold, of which the proceeds were

forwarded to an escrow account for payment of his potential forfeiture obligations. PSR ¶¶ 96,

97. We respectfully submit that the Court should consider these cooperative steps and efforts at

remedying the alleged harms Mr. James caused in assessing Mr. James’s character and in

fashioning a just sentence.

II.    MR. JAMES’S OBJECTIONS TO THE PSR AND GUIDELINES
       CALCULATION

       The defense filed objections with Probation on November 13, 2023, many of which the

defense raised with Probation prior to the issuance of the PSR, and Probation responded on

January 3, 2024. See Second Addendum to Presentence Report, dated January 3, 2024 (“Second

Addendum”). While Probation declined to change any of the challenged aspects of the PSR, the

defense respectfully submits that the PSR, the two Addenda, and Probation’s Recommendation

contain various misleading and inaccurate statements. Similarly, Probation’s Guidelines

calculation is incorrect because it includes inapplicable enhancements and, as discussed further

below, vastly overstates and incorrectly calculates the loss amount.




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         A.        Description of the Offense Conduct

         Part A of the PSR, which outlines the background and offense conduct, is largely a blind

repetition of the government’s opening and closing arguments at trial.1 The PSR fails to take

into account contradictory evidence or testimony.

         Because “[w]hat is set forth [in the PSR] is the Government’s characterization, not

factual recitation,”2 the PSR’s description of the offense conduct should be rejected and amended

as follows. See, e.g., Order at 1, United States v. Small, No. 16 Cr. 640-6 (E.D.N.Y. Nov. 13,

2023) (Cogan, J.), ECF No. 1018.

              1.      Background Section (¶¶ 13-18)

         Paragraphs 12, 26, 33. Contrary to the government’s assertion, adopted in the PSR, that

“the defendant continued to engage in fraudulent conduct related to his medical billing

businesses” “[f]ollowing his release on bond,” Mr. James ceased the alleged conduct upon his

arrest on July 26, 2019. On December 13, 2019, the government sought to revoke Mr. James’s

bail, alleging that he had continued to engage in the same fraudulent conduct that was the subject

of the indictment. See ECF No. 23. The defense responded on December 18, 2019, disputing

the government’s account and noting that the allegations in the government’s letter largely

occurred prior to Mr. James’s arrest. ECF No. 25. During a December 18, 2019 hearing, the


1
  The standard for the finding of facts for the PSR is different than the standard on a Rule 29 motion. On a Rule 29
motion, “[t]he Court must view the evidence in a light that is most favorable to the government, and with all
reasonable inferences resolved in favor of the government.” United States v. Anderson, 747 F.3d 51, 60 (2d Cir.
2014) (quoting United States v. Persico, 645 F.3d 85, 104 (2d Cir. 2011)). In sentencing, however, the Court may
not draw all inferences in the government’s favor, but rather must find facts relevant to sentencing by at least a
preponderance of the evidence. See United States v. Concepion, 983 F.2d 369, 388 (2d Cir. 1992).
2
  There are several places where the PSR’s description of the offense conduct is almost word-for-word taken from
the government’s opening or closing arguments. To provide just one of many examples, the PSR adopts the
government’s opening statement describing “[t]he defendant’s medical billing [that] resulted in grossly inflated
claims that were often denied.” Compare PSR ¶ 20 (“[T]he defendant’s billing practices often resulted in grossly
inflated claims that were denied by the insurance companies.”), with Tr. 17 (Opening). Throughout the PSR,
Probation adopted the government’s language wholesale, without any reference to defense arguments and evidence
that the jury may have credited.



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Court found that much of the conduct in the government’s bail revocation request had occurred

prior to Mr. James’s arrest, and to the extent he continued to engage in medical billing, the

defense’s explanation put those allegations “in a different light which le[d] [the Court] to believe

that there [was] a basis to release” Mr. James. See Ex. 33 (Dec. 18, 2019 Transcript at 13). The

fact that the Court released Mr. James from detention after this hearing is consistent with Mr.

James’s position that he did not engage in any fraud post-arrest. Id. at 24–25. The government’s

attempt to shoehorn its failed arguments into the PSR, and the PSR’s adoption of this position,

should be denied.

       Accordingly, Mr. James requests that the following paragraphs of the PSR be amended as

follows:

              Paragraph 12 of the PSR should be amended to read: “Following his release on
               bond in this matter, as set forth in a letter from the Government to the Court on
               December 13, 2019, the Government alleged the defendant continued to engage in
               fraudulent conduct related to his medical billing business. The Court did not
               agree with this allegation and again released Mr. James. The supervising Pretrial
               Services officer advised that the defendant has complied with all Court-ordered
               conditions of release.”

              The last sentence of Paragraph 26 of the PSR should be amended to read: “It is
               noted that the Government previously alleged that the defendant continued to
               engage in this criminal activity after his arrest on July 26, 2019, which the
               defendant disputes. After the Government moved to revoke his bond on
               December 13, 2019, the Court did not agree with the government’s claim that Mr.
               James continued to engage in improper billing and released Mr. James on bond.”

              The fourth sentence of Paragraph 33 of the PSR should be deleted.

       Paragraph 13. The PSR adopts the government’s unsupported position that “[t]he

Government presented evidence at the defendant’s trial that he renamed his third-party billing

companies several times to facilitate and conceal his fraudulent medical billing conduct.” But

there was no testimony or evidence at trial that Mr. James ever renamed his companies for the

purpose of concealing or facilitating fraud. In fact, there were only a limited number of billing



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companies that were operational during the relevant period, all of which were (1) registered

under his name; (2) registered to Mr. James’s home address; and (3) publicly registered in New

York. Tr. 2653–56 (Del Gais); GX-104. Importantly, Mr. James was acquitted of the money

laundering charges against him, which further undercuts this paragraph. As such, the last

sentence of Paragraph 13 of the PSR should be removed.

       Paragraph 15. The last sentence of this paragraph states that “[t]he amount of money an

insurance company paid a health care professional on a claim was normally determined by

certain rates and benefits set forth in the relevant health plan.” This sentence creates a

misimpression because Mr. James’s business primarily involved claims from out-of-network

physicians who were able to charge whatever they wanted for their services, as well as situations

in which insurance companies were or could have been obligated to pay the entirety of a claim or

had agreed in advance to pay for a particular procedure. See Expert Report of Wendy Wilkins-

Russell (the “Wilkins-Russell Report”) ¶¶ 6, 8, 9, 11. Moreover, the government did not

introduce at trial any “health plan” that corroborates this statement.

           2.      The Scheme to Commit Health Care Fraud and Wire Fraud (¶¶ 19-26)

       Paragraph 19. The evidence at trial does not support several of the statements in this

summary paragraph, as discussed further below. For example, Mr. James did not knowingly or

intentionally submit claims that were “completely different than the procedures actually

performed by the physician-clients.” Nor did he always “use[] the most expensive CPT codes

for the claims he submitted.” In fact, there were multiple examples in evidence of Mr. James

doing the opposite. And lastly, the evidence did not support the allegation that Mr. James

“conspired with collusive physician-clients to stage emergency room visits.” The defense




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therefore requests that Paragraph 19 be amended to qualify the allegations as being the

government’s version of events.

       Paragraph 20. Paragraph 20 contains several misstatements. First, the PSR claims that

Mr. James made “thousands” of calls in which he posed as patients. While Mr. James did

regrettably impersonate many patients or patients’ family members, the trial record does not

establish, let alone by a preponderance, that he did so “thousands” of times. The government did

not introduce any evidence at trial about the precise number or percentage of calls on which Mr.

James or his employees impersonated a patient. See Tr. 2468, 2475 (Tumulty). Agent Tumulty

testified that the FBI listened to hundreds of recorded calls with insurance companies and on

only a subset of those calls was there any apparent impersonation. Id. Moreover, in its case-in-

chief, the government called multiple patients who were not impersonated by Mr. James or one

of his employees. Tr. 173:6–23 (Breidenbach); Tr. 1137 (Brenner); Tr. 1839–40 (Motley).

       In addition, Mr. James did not make these calls “knowing” that the request for additional

payments “was completely false.” To the contrary, Mr. James generally made these calls after

patients underwent medically necessary medical procedures and the insurance company

acknowledged services were covered, but commenced a dispute over exactly how much the

insurance company was obligated to pay. Many of these disputes ended in a negotiated

settlement with the insurance companies, which were premised on the insurance company’s

review of the patient’s medical records and a sophisticated understanding of what out-of-network

providers ordinarily charge for the medical treatment in question. DX-401; DX-404.

       Second, Paragraph 20 states “In addition to making the calls himself, the defendant also

directed at least five female employees of his medical billing businesses to make the calls when

the patient was female (several employees testified at the defendant’s trial, and none have been




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charged for their involvement in the fraudulent scheme).” It further states that employees were

“expected, as part of their employment, to make the bogus telephone calls.” The government

only called three (Ms. Nash, Ms. Persky, and Ms. Cutrone), not five, female employees to speak

about their experiences making calls while working for Mr. James. And several employees who

testified at trial said they never made calls impersonating a patient, nor did they overhear another

employee call as or impersonate a patient. Tr. 1268:20–21 (Martinelli); Tr. 1584:4–7

(Flanagan); Tr. 2025:2–3 (Brunner).

       Third, the trial record does not support the claim that “the defendant sought to hire

employees without extensive experience who could be molded to participate in his fraudulent

billing practices.” To the contrary, several of the employee witnesses had some medical billing

training. See, e.g., Tr. 1281:8–13 (Martinelli); Tr. 1317:7–11 (Cutrone); Tr. 1471 (Flanagan).

       Accordingly, with respect to Paragraph 20, Mr. James requests:

              In the sentence, “When doing so, he often impersonated the patient or the
               patient’s family member (the insurance policyholder),” replace the word “often”
               with “sometimes.”

              Delete the first half of the sentence “The defendant made thousands of such
               telephone calls . . .”

              Remove the phrase “knowing that this was completely false” from the fourth
               sentence of the paragraph.

              Change the sentence: “In addition to making the calls himself, the defendant also
               directed at least five female employees of his medical billing businesses to make
               the calls when the patient was female (several employees testified at the
               defendant’s trial, and none have been charged for their involvement in the
               fraudulent scheme),” to read: “In addition to making the calls himself, three
               female employees of his medical billing businesses testified at trial that the
               defendant directed them to make the calls when the patient was female (several
               employees testified at the defendant’s trial, and none have been charged for their
               involvement in the fraudulent scheme).”

       Paragraph 22. This paragraph incorrectly recounts the circumstances surrounding an

insurance company’s payment for a patient’s procedure, stating “As a result, the insurance


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company paid the physician-client $153,000, an amount that was significantly higher than that

which was justified for 11 stitches.” Regardless of the code Mr. James or his employees used to

bill for a procedure, many of which he received directly from his physician-clients, it is

uncontested that each of the patients for whom Mr. James submitted medical bills received real

and necessary procedures from real, usually out-of-network, doctors. Because the physicians

were out-of-network, they had the discretion to set the price for procedures; they did not have to

follow any guidance from insurance companies in setting these prices. See Wilkins-Russell

Report ¶¶ 6, 8, 9, 11. And it was the doctors who determined where and when the medical

treatment was to occur, the contents of their operative reports, and the price for the procedures.

       As for this cited patient, Susan Breidenbach, Mr. James coded this claim based on exactly

what was in the operative report. GX-1177 at 1; see also Tr. 164 (Breidenbach) (testifying that

the codes Mr. James selected “matche[d]” the operative report). As Ms. Wilkins-Russell

concluded, even if the claim had been submitted as the government purports it should have been,

it would have resulted in a loss of $47,191.25 out of $153,250.00, or less than one-third of the

originally-billed claim. Wilkins-Russell Report ¶ 76.

       With respect to the second example in this paragraph regarding a patient, Victoria

Motley, who received “an uncovered cosmetic ‘tummy tuck’ surgery,” the PSR is mistaken to

uncritically adopt the government’s version of the trial record. Ms. Motley’s testimony at trial

revealed that her original version of the story – that she wanted and received a tummy tuck,

which was then concealed from the insurance companies – was not true, and in any event, would

have been unknown to Mr. James. As she was confronted with at trial, Ms. Motley’s operative

report stated that she received hernia surgery. Tr. 2487–90 (Motley); DX-713. And three

hundred pages of medical records reflected the same conclusion: that Ms. Motley received a




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single diagnosis of a hernia. GX-136. With respect to the allegation that Mr. James “directed

the physician-client to process [Ms. Motley] through the emergency room for a hernia,” the

government presented no evidence at trial of such collusion. To the contrary, all the evidence

showed was that Mr. James received an operative report from a doctor with the subject line

“UHC ER patient.” DX-713. There is no evidence that Mr. James consulted with the doctor

about going to the emergency room, that Mr. James spoke to Ms. Motley, or that he somehow

directed her to go to the emergency room. And in any event, the insurance company did not

allow payment on the emergency room code that Mr. James submitted with the claim. Wilkins-

Russell Report ¶¶ 41, 44. It cannot follow that Mr. James’s billing of Ms. Motley’s procedure as

a hernia was at all improper, or that he had any role in her reporting to the emergency room when

she complained of abdominal pain, which had previously been diagnosed as a hernia. Id. ¶ 40;

DX-226.

       Moreover, the evidence at trial does not support that Mr. James submitted falsified claims

to insurance companies “by working with collusive physician-clients to manipulate and falsify

operative reports.” PSR ¶ 22. As the government proposed, the PSR holds Mr. James

responsible for every single operative report and medical record presented to the jury as if he

were their sole, or even primary, author. But there were no charges brought against any of the

alleged co-conspirator doctors. Instead of calling one of Mr. James’s alleged co-conspirator

doctors, the only doctor-witness the government called, Dr. Kevin Tehrani, supported Mr.

James’s conduct, testifying that Mr. James correctly coded the claim that Mr. James submitted

for Dr. Tehrani. Tr. 1230–31 (Tehrani); DX-222. Dr. Tehrani further testified that it was proper

and common for billers like Mr. James to comment on a doctor’s operative report and suggest

amendments or changes to the report. Tr. 1238–41 (Tehrani); DX-170; see also Tr. 2490–92




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(Tumulty) (reporting statement from a second doctor that it was common and appropriate for

medical billers to suggest changes to operative reports).3

         Accordingly, Mr. James respectfully requests:

                 The sentence “He did so by working with collusive physician-clients to
                  manipulate and falsify operative reports” be removed;

                 The last two sentences of Paragraph 22 be removed; and

                 The following sentence be added to the end of the paragraph: “The physician-
                  clients for whom Mr. James typically billed were out-of-network, and as such,
                  they permissibly set their own prices for procedures.”

         Paragraph 23. Contrary to Paragraph 23, which claims that “the defendant used the most

expensive CPT codes in the claims he submitted to insurance companies,” the evidence at trial

demonstrated that Mr. James did not always use the “most expensive CPT code.” For example,

there were numerous claims where Mr. James and his employees submitted codes ranging from

simple to complex for debridement, wound closures, emergency consultations, and a host of

other categories. Tr. 1628–30 (Flanagan); GX-1018 at 1; Tr. 1637–50 (Flanagan); DX-221 at 3;

DX-224 at 4, 15; DX-601 at 14, 21, 60, 61, 68; GX-601 at 1; DX-710 at 5; GX-1210 at 14.

Moreover, Mr. James instructed his employees to use less complex codes in certain situations. In

one example, when an employee asked which debridement code – one of the supposedly

lucrative codes the government claimed Mr. James always instructed his employees to use – to

enter for a claim where the doctor only coded for simple debridement, Mr. James said “Use [the

doctor’s] codes.” DX-139. And when an operative report did not include a description of

debridement, Mr. James told an employee not to add it. DX-141. In other words, while the PSR

parrots the government’s unproven theory that every single bill used the most expensive code,



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  Similarly, as the Cigna witness, Ms. McQuade, testified it is not misconduct or fraud for a medical biller to advise
a doctor or patient about the financial ramifications of doing a procedure one way or another. Tr. 656 (McQuade).



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the evidence showed that Mr. James and his employees regularly used less complex, and

therefore less expensive, codes.

       Similarly, Paragraph 23 states that “the defendant frequently did not check with his

physician-clients regarding clarification of procedures that were performed.” But the

government’s own evidence at trial showed that Mr. James regularly received CPT codes directly

from the physician-clients, communicated with his physician-clients to confirm details of the

treatment and the coding, and provided copies of the submitted HCFA forms to his physician-

clients for their review. See GX-709 at 22; GX-734 at 22; see also DX-113; DX-116; DX-125.

In one conversation between Mr. James and a doctor, Mr. James asked the doctor about which

debridement codes to use. The doctor told him “if appropriate use 11011,” a more complex

debridement code. Mr. James responded, “U have documented only skin we will have to use

11010,” a less complex debridement code. DX-112.

       In addition, only one employee testified at trial that Mr. James “directed his employees to

fabricate claims;” other employees testified that they only billed “legitimate codes . . . they

weren’t made up codes.” Tr. 1304:3–9 (Martinelli); see also Tr. 1291 (Martinelli) (testifying

employees were not “mak[ing] up” codes, but coding and billing claims based on medical

records); Tr. 1424–25 (Cutrone). These employees described the same basic coding process in

which they would “look at the operative reports, code them, and bill them out,” Tr. 1282

(Martinelli), with codes selected “based on the procedures that were described in the operative

report,” Tr. 1283 (Martinelli); see also Tr. 1457–58 (Cutrone); Tr. 1588–89 (Flanagan).

       Finally, the defense also objects to the last sentence in Paragraph 23 related to Modifier

59, stating that “By using a modification known as ‘Modifier 59,’ the defendant ensured that his

employees were indicating on claim forms that separate and distinct procedures were performed




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on different parts of the body when, in actuality, only one part of the body was affected.” This

sentence is unsupported by the trial record, and there were instances in which Modifier 59 was

not used, was used properly, or was irrelevant to the claim evaluation by the insurance company.

See Wilkins-Russell Report ¶¶ 29, 31, 35, 43, 46, 47, 50, 55, 56, 60, 61, 63, 65, 70.

       Accordingly, with respect to Paragraph 23, Mr. James respectfully requests that:

              The paragraph be re-written to make clear that the defendant sometimes used and
               encouraged his employees to use the most complex CPT codes, but that the
               evidence and testimony reflects that non-complex codes were routinely used by
               Mr. James and that Mr. James determined the appropriate CPT codes relying on
               the operative reports solely generated by his physician-clients.

              Remove the sentence stating “In fact, the defendant frequently did not check with
               his physician-clients regarding clarification of procedures that were performed.”

              Remove the sentence stating “He also directed his employees to fabricate claims”
               and replace it with “One out of six employees who testified stated that Mr. James
               directed her to fabricate claims.”

              Remove the last sentence of the paragraph that relates to Modifier 59.

       Paragraph 24. Contrary to the PSR’s assertion, the evidence at trial does not support

that Mr. James “worked with corrupt physician-clients who agreed with the defendant’s

suggestion that the patients should be directed to check in through the emergency room for pre-

planned surgeries” because “insurance companies did not question the legitimacy of emergency

room visits.” First, as noted above, there is no evidence that Mr. James ever directed Ms.

Motley or her physician to report to the emergency room for a hernia. Second, the other patient

the government presented who was directed to report to the emergency room unnecessarily, Ms.

Guzman, testified that she never communicated with Mr. James. Tr. 288–89 (Guzman). In fact,

not a single patient who testified said that they ever spoke with Mr. James prior to being treated

with the exception of Heather Quinlivan, a patient who never went to the emergency room and




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underwent a surgery that was fully pre-authorized. Accordingly, the defense respectfully

requests that Paragraph 24 be removed from the PSR.

       The defense also requests that the PSR include in the offense conduct the following

two points, which are supported by the trial record and relevant to a fair description of the

offense conduct:

       First, Mr. James’s billing practices and procedures also included hundreds of procedures

that were pre-authorized by the insurance companies – known as “GAP” procedures. See, e.g.,

DX-215.

       Before Mr. James or his employees submitted documentation to the insurance companies

for compensation, the insurance companies fully pre-authorized many of the claims that Mr.

James billed. Stephanie Brunner, Mr. James’s employee, testified that she only worked on pre-

authorized procedures, and that pre-authorized procedures were “almost exclusively” the kinds

of claims Mr. James submitted for payment. See Tr. 2017:5–7 (Brunner). With pre-authorized

procedures, the insurance company had already made a determination that the procedure was

medically necessary and covered before Mr. James got involved with billing a procedure. See

Tr. 794:7–9 (Battistoni). As a result, the insurance companies had promised to pay most, if not

all, of the amount of money the doctors charged for these pre-authorized procedures. And there

were instances in which insurance companies negotiated the exact amount they were going to

pay for these procedures in advance.

       Second, not a single witness testified that their credit was harmed, that they were sent to

collections agencies, or that they were held responsible for a medical bill as a result of Mr.

James’s conduct. To the contrary, multiple witnesses testified that their credit and

creditworthiness were not harmed by Mr. James. Tr. 958 (Pash); Tr. 1020 (Smart). And no




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patient testified that they were obligated to pay the difference between the dollar amount of the

claims submitted by Mr. James and the amount actually paid out by the insurance companies.

              3.      Victim Impact (¶ 30)

         The defense objects to Aetna’s calculation of its loss, as Aetna has not presented any

explanation or support for its claimed $50,000,000 in loss. PSR ¶ 30. As discussed further

below, see infra Section III, even assuming that the dollar amount accurately reflects the amount

Aetna paid to Mr. James’s physician-clients in the relevant period, Aetna’s actual loss is far less

than the total amount it paid.

              4.      Objections to the PSR’s First Addendum

         On October 16, 2023, Probation supplied its First Addendum to the PSR (“First

Addendum”), which included “additional information” and a victim impact statement from

Cigna.

         As discussed further below, see infra Section III, the defense objects to Cigna’s

calculation of the loss amount, as no evidence has been presented as to how Cigna calculated that

$33 million amount, and the same issues that pervade the rest of the loss calculation exist in

Cigna’s calculation.

         Additionally, the defense objects to any reliance by the Court upon the factual allegations

in Cigna’s statement that relate to the underlying offense conduct, which have not been subject to

cross-examination or considered by a jury.

         B.        Mr. James Should Not Be Subject to Several of the Sentencing
                   Enhancements Probation Assigned

         The PSR’s Guidelines calculation is flawed because the government has sought, and the

PSR has adopted, several Guidelines enhancements that are inapplicable. See PSR ¶¶ 27-57.




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       Starting with the Guidelines calculation, Mr. James has no criminal history, and thus is in

Criminal History Category I. In addition, it is undisputed that the base offense level for the

conduct of which Mr. James was convicted is 7. Probation, however, then added 28 levels

corresponding to a loss amount of more than $250,000,000 and less than $550,000,000. As set

forth below, that calculation vastly overstates the loss amount. The government cannot prove by

a preponderance of the evidence, let alone with the specific evidence that this Circuit requires,

that the purported insurance company victims have suffered such a loss.

       In addition, each of the following enhancements Probation recommends are inappropriate

given the instant facts and applicable law: (1) 4 levels because Mr. James was the organizer and

leader of the offense, which involved five or more participants, pursuant to U.S.S.G. § 3B1.1(a),

PSR ¶ 40; (2) 2 levels because Mr. James “abused a position of public and private trust in a

manner that significantly facilitated the commission or concealment of the offense” pursuant to

U.S.S.G. § 3B1.3, id. ¶ 41; and (3) 2 levels for obstruction of justice pursuant to U.S.S.G. §

3C1.1, id. ¶¶ 32, 42. Moreover, even if Mr. James receives the 4-level enhancement for an

aggravating role, he still qualifies for a 2-level reduction because he has no criminal history.

           1.      Mr. James Did Not Obstruct Justice

       The government’s sought-after enhancement for obstruction of justice pursuant to

U.S.S.G. § 3C1.1 is based on fundamental factual and legal errors. Specifically, the PSR bases

the enhancement for Obstructing or Impeding the Administration of Justice on the government’s

assertion that “[t]he FBI’s investigation into the instant offense had already commenced by

[March 2019]” when Mr. James allegedly deleted and encouraged a former employee to delete

evidence, and “even if the defendant was not aware of the investigation in March 2019, it

appears that the defendant’s destruction of evidence was purposely calculated and likely to

thwart the investigation or prosecution of the offense of conviction.” Id. ¶ 32. But there is no


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evidence that (1) Mr. James’s actions were “purposely calculated and likely to thwart the

investigation,” or (2) that Mr. James was even aware of the FBI’s investigation in March 2019,

when he allegedly destroyed evidence.

       Section 3C1.1 of the Sentencing Guidelines provides that a 2-point enhancement is

appropriate if a defendant “willfully obstructed or impeded, or attempted to obstruct or impede,

the administration of justice with respect to the investigation, prosecution, or sentencing of the

instant offense of conviction, and (2) the obstructive conduct related to (A) the defendant’s

offense of conviction and any relevant conduct; or (B) a closely related offense.” U.S.S.G.

§ 3C1.1. The Application Notes for Section 3C1.1 state that the adjustment may extend to

obstructive conduct that occurred prior to the start of the investigation of the instant offense only

“if the conduct was purposefully calculated, and likely, to thwart the investigation or prosecution

of the offense of conviction.” U.S.S.G. § 3C1.1, Application Note 1. To be “purposefully

calculated,” the government must show willfulness and materiality, meaning that the defendant

had the “specific intent to obstruct justice, i.e., that the defendant consciously acted with the

purpose of obstructing justice.” United States v. Zagari, 111 F.3d 307, 328 (2d Cir. 1997)

(quoting United States v. Defeo, 36 F.3d 272, 276 (2d Cir. 1994)) (noting “motivation alone does

not equate to materiality”). In other words, the government must show by a preponderance of

the evidence that the defendant knew there was an imminent or ongoing federal criminal

investigation, and that his actions were taken to thwart that investigation. See United States v.

Eisen, 1991 WL 180398, at *1 (E.D.N.Y. Sept. 3, 1991).

       The government appears to take the position that the obstruction enhancement is

appropriate because of a conversation between Mr. James and one of his former employees,

Eileen Nash, in March 2019, shortly after Aetna sued Mr. James. During that conversation, Ms.




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Nash claimed that Mr. James asked her to get rid of her laptop. PSR ¶ 32. The government also

claims that, after that conversation, Mr. James deleted some of his messages with Ms. Nash. Id.

But the referenced conversation between Ms. Nash and Mr. James occurred (in March 2019)

months before Mr. James was charged in the instant case (in July 2019), or before he had any

knowledge that there was an ongoing or imminent criminal investigation into his conduct.

       Nor is there any evidence that Mr. James acted to thwart or impact an imminent criminal

investigation. The conversation with Ms. Nash happened as a result of Aetna filing a civil

lawsuit against Mr. James. The government has never alleged or proven that Mr. James knew he

was or soon could be under criminal investigation at the time he spoke to Ms. Nash. Mr. James’s

actions certainly were not, as the government suggests without any evidence, a calculated

attempt to evade an investigation he did not know about. As a result, any steps Mr. James may

have taken after getting sued in a civil lawsuit, prior to being charged and without any

knowledge of an imminent or ongoing criminal investigation, fall outside the obstruction

enhancement set forth in Section 3C1.1. See United States v. Paccione, 751 F. Supp. 368, 377

(S.D.N.Y. 1990) (rejecting two-level enhancement where defendant “did not know that there was

a federal investigation pending at the time of the alleged” obstruction), aff’d, 949 F.2d 1183 (2d

Cir. 1991); Eisen, 1991 WL 180398, at *1 (rejecting two-level enhancement because government

provided no evidence that defendant’s action were intended to obstruct federal investigation, but

rather an investigation by “local authorities” into state law violations).

           2.      A 4-Level Role Enhancement Is Inappropriate

       A 4-level role enhancement is not appropriate in this case. Section 3B1.1 of the

Guidelines provides for an offense level enhancement if the defendant was (a) “an organizer or

leader of a criminal activity that involved five or more participants or was otherwise extensive”

(4 levels); (b) “a manager or supervisor (but not an organizer or leader) and the criminal activity


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involved five or more participants or was otherwise extensive,” (3 levels); (c) “an organizer,

leader, manager, or supervisor in any criminal activity other than described in (a) or (b): (2

levels). U.S.S.G. § 3B1.1.

       Mr. James did not function in an organizer, leader, manager, or supervisory role in the

offense conduct. Mr. James ran a medical billing business out of the basement of his home.

While Mr. James managed his business and his handful of employees, the government did not

demonstrate that he acted as the organizer, leader, manager, or supervisor of a criminal

enterprise. Nor did the government prove that Mr. James organized, led, managed, or supervised

his doctor-clients (and alleged co-conspirators). Indeed, the very nature of his relationship with

his doctor-clients was that the doctors were ultimately responsible for all billing, coding, and

medical decisions arising out of their practices, and they routinely directed Mr. James to bill

certain procedures and claims (and how much, and for what, he should bill those claims for).

The government’s efforts to transform Mr. James’s basement business into a criminal enterprise,

and to claim that Mr. James, who performed services for and at the discretion of his doctor-

clients, acted as their “organizer,” “leader,” “manager,” or “supervisor,” should be rejected.

       Regardless of Mr. James’s role, the government also failed to prove that the alleged

conspiracy had five or more knowing participants, or was otherwise extensive, as required for the

3- or 4-level enhancements under U.S.S.G. § 3B1.1(a). “In assessing whether a criminal activity

‘involved five or more participants,’ only knowing participants are included.” United States v.

Paccione, 202 F.3d 622, 624 (2d Cir. 2000) (emphasis added). But the government has not

proven by a preponderance of the evidence that either Mr. James’s doctor-clients or employees,

none of whom were charged, constitutes “knowing” participants for purposes of the aggravating




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role enhancement, and even if they were, that Mr. James exercised control or authority over the

physician-clients.

       The government elicited no testimony from any of Mr. James’s physician-clients at all,

much less testimony that would demonstrate they were “knowing” participants in any purported

criminal scheme or even that they knew Mr. James was impersonating their patients or altering

the coding. And, to the extent these physicians were somehow knowing participants for

purposes of the enhancement, Mr. James did not exercise control or authority over their actions.

See Paccione, 202 F.3d at 624 (noting U.S.S.G. § 3B1.1 “depends upon the degree of discretion

exercised by” the defendant) (quoting United States v. Beaulieau, 959 F.2d 375, 379–80 (2d Cir.

1992)). To the contrary, Mr. James’s physician-clients were ultimately responsible for providing

medical care to their patients, and in turn directed Mr. James to bill the claims and procedures he

submitted to insurers. In addition, Mr. James’s physician-clients were ultimately responsible for

the health insurance claim forms submitted to insurance carriers. See GX-130.

       Similarly, Mr. James’s former employees also do not constitute “knowing” participants,

or otherwise function as the equivalent of a group of five or more knowing participants for

purposes of this enhancement. At trial, all of Mr. James’s employees except one disclaimed any

knowledge of fraud. In fact, they testified to precisely the opposite: that they did not believe

they were participating in a fraudulent scheme, and they were uniformly instructed to code and

bill claims based on what was in the medical records. Tr. 1291, 1304 (Martinelli). As one

employee put it: “No, all codes were legitimate codes . . . they weren’t made up codes.” Tr.

1304:3–9 (Martinelli). Even the employees allegedly hired to impersonate patients testified that

they believed they had the patients’ permission to call, and that they made the calls to help

patients, not to defraud the insurance companies. Tr. 311, 318:1–3 (Nash); Tr. 885:6–12




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(Persky); Tr. 1414:10-11 (Cutrone). See United States v. Tonawanda Coke Corp., 5 F. Supp. 3d

343, 360 (W.D.N.Y. Mar. 14, 2014) (“The Second Circuit has recognized that this enhancement

is not appropriate when the supervised participants were unwitting accomplices.”).

       Because the government has failed to show that Mr. James was the leader of five or more

knowing participants, or that the conspiracy was otherwise extensive, the 4-level enhancement

should not apply. See United States v. Ware, 577 F.3d 442, 543–54 (2d Cir. 2009) (reversing

lower court’s application of four-level leadership enhancement because the record was not clear

whether the “participants” were knowing, or that “unknowing participants” were “criminally

responsible”).

           3.      Mr. James Should Receive A 2-Level Reduction Because He has No Criminal
                   History

      Mr. James should receive a 2-level reduction in his offense level because he has no

criminal record, putting him in Criminal History Category I. Under the newly-enacted

amendments to the Guidelines, a defendant is eligible for a 2-level reduction if he received no

criminal history points and does not fall within one of ten categories. U.S.S.G. § 4C1.1.

Relevant here, U.S.S.G. § 4C1.1(a)(10) provides that a reduction is warranted if “the defendant

did not receive an adjustment under § 3B1.1 (Aggravating Role) and was not engaged in a

continuing criminal enterprise, as defined in 21 U.S.C. § 848.” For a defendant to fall within this

exception to the § 4C1.1 reduction, he must have both (1) received an aggravating role

adjustment, and (2) be engaged in a continuing criminal enterprise. The Sentencing Commission

used the conjunctive “and” in this provision, whereas it used “or” in other subsections of this

amendment. Compare U.S.S.G. § 4C1.1(a)(9) (stating that a defendant must not have

“receive[d] an adjustment under § 3A1.1 (Hate Crime Motivation or Vulnerable Victim), and

U.S.S.G. § 3A1.5 (Serious Human Rights Offense)) (emphasis added), with U.S.S.G.



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§ 4C1.1(a)(10) (using “and”). This purposeful choice indicates that subsection 10 is meant to

require both an aggravating role adjustment and a continuing crime. See Lallave v. Martinez,

635 F. Supp. 3d 173, 187–88 (E.D.N.Y. 2022) (citing S.W. Airlines Co. v. Saxon, 596 U.S. 450,

457 (2022)) (referring to the “well-settled presumption of meaningful variation,” which

“presume[s] that variations among the instances” of repeated words, phrases, or structures from

one statutory provision to another “are meaningful”); United States v. Bonanno Organized Crime

Fam. of La Cosa Nostra, 879 F.2d 20, 24 (2d Cir. 1989) (requiring statutes be read as a whole).

      Therefore, regardless of whether this Court agrees that no aggravating role enhancement is

appropriate here (and it is not), Mr. James was not engaged in a continuing criminal enterprise as

defined by 21 U.S.C. § 848, which applies only to felony drug offenses. And as the PSR states,

Mr. James has no criminal history – he has never before been arrested or convicted of any

offenses. PSR ¶¶ 52–57. Accordingly, because this was Mr. James’s “first encounter with the

criminal justice system,” and this represents a “clear variation from an otherwise law-abiding

life,” he should receive a decrease in offense level by 2. See United States v. Lin, 2023 WL

6796390, at *4–5 (E.D.N.Y. Oct. 13, 2023) (levying sentence more than one-half of lower end of

Guidelines range, in part because of lack of criminal history, applying § 4C1.1).

           4.      Mr. James Did Not Violate a Position of Trust

       Probation’s application of the 2-level enhancement under U.S.S.G. § 3B1.3 for abusing a

position of public or private trust misunderstands the purpose of this enhancement and should be

rejected. Under U.S.S.G. § 3B1.3, an additional 2-level enhancement applies where “the

defendant abused a position of public or private trust, or used a special skill, in a manner that

significantly facilitated the commission or concealment of the offense.” U.S.S.G. § 3B1.3. The

abuse of trust enhancement requires that the defendant: (1) “occupied a position of trust from the

victim’s perspective,” and (2) abused that trust, which “significantly facilitated the commission


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or concealment of the offense.” United States v. Huggins, 844 F.3d 118, 124 (2d Cir. 2016)

(quoting United States v. Thorn, 446 F.3d 378, 388 (2d Cir. 2006)) (rejecting 2-level

enhancement for abuse of trust and finding the penalty “should not be read so broadly as to apply

to every instance in which a fraud offense is committed”).

       This enhancement has traditionally been reserved for people who occupied a position of

power over the alleged victim, such as a doctor and patient, attorney and client, teacher and

student, or the like. See U.S.S.G. § 3B1.3, Application Note 1 (noting the enhancement is

appropriate for someone in “a position of public or private trust characterized by professional or

managerial discretion”); United States v. Wilensky, 2022 WL 715550, at *3 (E.D.N.Y. Mar. 10,

2022) (applying 2-level enhancement for physical therapist who was convicted of conspiracy to

commit healthcare fraud because she “knew that most of the services were not necessary, and

that some of the services were either not rendered or were rendered by unlicensed aides”).

Indeed, the commentary provides three examples to illustrate the enhancement’s application: (1)

an attorney serving as a guardian who embezzles a client’s funds, (2) “a bank executive’s

fraudulent loan scheme,” and (3) “the criminal sexual abuse of a patient by a physician under the

guise of an examination.” U.S.S.G. § 3B1.3, Application Note 1. The application note further

states that it would not apply “in the case of an embezzlement or theft by an ordinary bank teller

or hotel clerk because such positions are not characterized by the above-described factors.” Id.

The enhancement is not, as the government appears to allege, appropriate for a medical biller

defendant and an insurance company victim, particularly where procedures were medically

necessary and actually performed by real doctors.

       Beyond the enhancement’s intended purpose, several criteria necessary for its application

are absent here. The Second Circuit has “repeatedly held that a ‘position of trust’ is held by one




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who was accorded discretion by the victim and abused a position of fiduciary or quasi-fiduciary

status.” Huggins, 844 F.3d at 124. Neither applies here. First, Mr. James did not possess a

fiduciary (or fiduciary-like) relationship with any of the insurance company victims in this case.

Mr. James was a third-party medical biller who was contracted by his physician clients to submit

claims to insurance providers, and it was the physician clients who were ultimately responsible

for the coding submitted to insurance companies. His relationship to the victim insurance

companies – and his role as a medical biller – do not resemble the fiduciary-like examples

provided in the Guidelines. See United States v. Broderson, 67 F.3d 452, 456 (2d Cir. 1995)

(citing as examples circumstances where an attorney embezzles a client’s money, or a physician

molests a patient during an examination). Second, there is no evidence that Mr. James was

granted (let alone abused) “discretionary judgment” that was directly provided to him by a

victim, which is another necessary feature required for the enhancement to apply. U.S.S.G. §

3B1.3, Application Note 1. As a result, the abuse of trust enhancement is not warranted here.

           5.      Acquitted Conduct Should Be Excluded

       The Court should decline, in its discretion, to consider the acquitted money laundering

conduct as a basis for an upward departure or variance. See PSR ¶ 29.

       The practice of considering acquitted conduct has been widely criticized. See McClinton

v. United States, 143 S. Ct. 2400, 2402–03 (2023) (Sotomayor, J., dissenting from denial of

certiorari) (“With an acquittal, the jury as representative of the community has been asked by the

State to authorize punishment for an alleged crime and has refused to do so . . . . [A]cquitted-

conduct sentencing also raises questions about the public’s perception that justice is being done,

a concern that is vital to the legitimacy of the criminal justice system.”); United States v. Bell,

808 F.3d 926, 927 (D.C. Cir. 2015) (Kavanaugh, J., concurring in denial of r’hrg en banc)

(“Allowing judges to rely on acquitted or uncharged conduct to impose higher sentences than


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they otherwise would impose seems a dubious infringement on the rights to due process and to a

jury trial.”); United States v. White, 551 F.3d 381, 386 (6th Cir. 2008) (“To say that district court

judges may enhance a defendant’s sentence based on acquitted conduct, however, is not to say

that they must do so.”).4

        At least four current Supreme Court justices have opined that considering acquitted

conduct violates the Sixth Amendment and the Supreme Court’s jurisprudence regarding what a

sentencing court may consider. See McClinton, 143 S. Ct. at 2401 (Sotomayor, J., dissenting)

(noting Justices Thomas, Kavanaugh, Gorsuch, and Sotomayor have indicated they believe

considering acquitted conduct at sentencing is unconstitutional).5 In short, considering acquitted

conduct at sentencing violates the Due Process Clause and the Sixth Amendment’s right to a jury

trial because it results in the judge stepping into and disagreeing with the jury’s fact-finding.

See, e.g., Jones v. United States, 574 U.S. 948, 948 (2014) (Scalia, J., dissenting from denial of

certiorari) (opining that the imposition of “sentences that, but for a judge-found fact, would be

reversed for substantive unreasonableness” had “gone on long enough”); United States v.

Martinez, 769 F. App’x 12, 17 (2d Cir. 2019) (Pooler, J., concurring) (summary order) (stating

that “using acquitted conduct to enhance a defendant’s sentence . . . is fundamentally unfair” and

“deeply troubling,” and agreeing with Justices Scalia and Gorsuch that such a practice

“disregards the Sixth Amendment”); Bell, 808 F.3d at 929 (D.C. Cir. 2015) (Millett, J.,

concurring in denial of r’hrg en banc) (“[A]llowing a judge to dramatically increase a

defendant’s sentence based on jury-acquitted conduct is at war with the fundamental purpose of



4
 Both houses of Congress recently introduced bipartisan legislation that would prohibit punishment based on
acquitted conduct. See Prohibiting Punishment of Acquitted Conduct Act of 2023, S. 2788, 118th Congress (2023);
Prohibiting Punishment of Acquitted Conduct Act of 2023, H.R. 5430, 118th Congress (2023).
5
  Justices Kavanaugh, Gorsuch, and Barrett joined Justice Sotomayor’s dissent to granting certiorari in McDonald.
Id. at 2403.



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the Sixth Amendment’s jury-trial guarantee.”). Considering acquitted conduct here would

“raise[] questions about the public’s perception that justice is being done,” McClinton, 143 S. Ct.

at 2402, and thus it should be disregarded for sentencing purposes.

       In any event, the jury found that Mr. James did not commit money laundering, and the

government has not proven that conduct by a preponderance of the evidence. At trial, the

government failed to prove that all of Mr. James’s gains from his medical billing business were

fraudulently obtained and, more importantly, that Mr. James hid or concealed his investments

and purchases or conspired with anyone to engage in money laundering. Accordingly, an

upward departure or variance for Mr. James’s acquitted conduct is inappropriate here.

           6.      Convictions under 18 U.S.C. § 1028A Should Run Concurrently

       Probation appropriately recommends – without objection from the government – that Mr.

James’s sentence on the three counts of conviction pursuant to 18 U.S.C. § 1028A should run

concurrently to each other (with the understanding that the two-year mandatory minimum must

run consecutively to any term of imprisonment on the other counts). See PSR ¶ 44 & n.6; United

States v. Chibuko, 744 F.3d 259, 263 (2d Cir. 2014). The “general rule that the § 1028A

sentences should run concurrently when the underlying crimes were grouped.” Chibuko, 744

F.3d at 264 (citing U.S.S.G. § 5G1.2, Application Note 2(B)(ii)). Where the offenses are

groupable pursuant to U.S.S.G. § 3D1.2, courts also consider the nature and seriousness of the

underlying offenses and the § 3553(a)(2) factors. See U.S.S.G. § 5G1.2, Application Note 2(B)

(discussing 18 U.S.C. § 1028A).

       Mr. James’s underlying convictions for conspiracy to commit health care fraud, health

care fraud, and wire fraud should all be grouped under U.S.S.G. § 3D1.2. Where “the offense

level is determined largely on the basis of the total amount of harm or loss,” U.S.S.G.

§ 3D1.2(d), the § 1028A convictions should be run concurrently to one another. Here, the


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offense level is predominantly driven by the alleged loss amount underlying Mr. James’s health

care fraud substantive and conspiracy counts, and wire fraud. Moreover, the seriousness of the

underlying offense does not call for consecutive sentences, see infra Section IV.B, and the 18

U.S.C. § 3553 factors weigh in favor of a substantially below-Guidelines sentence, see infra

Section IV.

       C.      Probation’s Recommended Term of 15 Years’ Imprisonment is Flawed and
               Should Not Be Followed

       Like the advisory Guidelines sentence of life imprisonment, which is wholly

inappropriate as discussed throughout this submission, the Court should not follow Probation’s

Sentencing Recommendation of 15 years’ imprisonment. See Sentencing Recommendation at 4,

dated Feb. 9, 2023 (“Recommendation”). Throughout its Recommendation, Probation relies on

the government’s flawed description of the offense conduct and various enhancements, which, as

discussed above, are rife with inaccuracies and unproven allegations.

       For example, in fashioning its recommended sentence, Probation relies on a loss amount

of $528 million and several other sentencing enhancements, which, as discussed above and

below, are inapplicable. Probation similarly cites to the acquitted, alleged money laundering

conduct in its Recommendation, even though that conduct has not been proven by a

preponderance of the evidence, and the Court should not consider it. Probation also relies on the

government’s disproven argument that Mr. James continued his criminal conduct after his arrest.

And it claims that Mr. James was the “primary beneficiary” of the criminal activity, ignoring the

fact, by its own calculations, that Mr. James’s alleged co-conspirator physician-clients were paid

approximately $465 million (out of $528 million) in fraud proceeds and have suffered no

consequences as a result. Id. at 3.




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       Finally, Probation asserts that the only “mitigating factors” in Mr. James’s favor are his

“lack of criminal history” and “his family situation” – an entirely insufficient assessment of Mr.

James’s personal history and characteristics. Mr. James’s overcoming of substantial hardships to

immigrate to the United States and become a nurse, his contributions to society as a nurse for

nearly two decades, his exemplary good deeds to his family, friends, and neighbors, his housing

and support of his parents for nearly 14 years, his faith and involvement with his church, his

complete compliance with the terms of his pretrial release for four and a half years, and the

complete lack of prosecution or any negative consequences for the alleged 150 physician co-

conspirators, are just some of the other mitigating factors that Probation fails to consider.

Accordingly, like the vastly overstated advisory Guidelines sentence of life imprisonment,

Probation’s recommendation of 15 years – which would lead to Mr. James being released when

he is 70 years old – should be rejected by the Court.

III.   THE LOSS AMOUNT IS VASTLY OVERSTATED AND INSTEAD SHOULD BE
       CALCULATED AS A PERCENTAGE OF MR. JAMES’S GAINS

       The Court should decline to adopt the government’s draconian, illogical, and unsupported

overstatement of the loss amount. The government has not come close to meeting its burden of

proving Probation’s loss amount of $528,183,741.83 (much less the $600 million the

government claimed in a post-trial press release) by a preponderance of the evidence, let alone

with the heightened specific evidence standard that should apply here. The PSR estimated this

loss – based on the government’s theory – by first taking the total amount of money that Mr.

James earned from his medical billing business during the relevant time period, approximately

$63 million. Then, to get to $528 million, the PSR divided $63 million by 12%, which the

government purports is the percentage of the total amount of money the insurance companies

paid to the doctors, which Mr. James was then compensated by his physician-clients. In other



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words, the government and Probation have backed into an alleged total amount of money Mr.

James’s physician-clients were paid by insurance companies for claims Mr. James purportedly

billed by using an estimated percentage of that total that Mr. James was paid.

        This calculation is, from the outset, pure conjecture. But most troubling is that the sole

basis for this conjectured loss amount is the government’s assertion that every single claim Mr.

James submitted for approximately seven years was entirely fraudulent, and therefore every

single dollar paid by the insurance companies qualifies as “loss.” But that position is

speculative, inconsistent with positions the government itself took throughout the pendency of

this case, flatly contradicted by the evidence at trial, and, in any event, dramatically overstates

the seriousness of the offenses with which Mr. James (and none of the alleged 150 doctor co-

conspirators) was prosecuted.

        An expert analysis of eight of the patients who were the focus of trial confirms that

calculating the loss amount by accounting for every single dollar paid by the insurance

companies is fundamentally flawed. See the Wilkins-Russell Report. In advance of sentencing,

counsel for Mr. James retained Wendy Wilkins-Russell, who has decades of experience as a

healthcare finance executive and in the medical billing industry, to review the records for eight

of the nine patients who were the focus of trial.6 Ms. Wilkins-Russell compared the amount that

insurance companies allowed for each of the billed codes for these eight patients with what the

insurance companies likely would have allowed if Mr. James had billed the codes according to

the government’s allegations. Ms. Wilkins-Russell’s analysis confirms that the vast majority –



6
  The ninth, Samuel Brenner, was excluded from the expert analysis. At trial, the government did not contest any
aspect of the coding for Mr. Brenner’s medically necessary treatment, and thus considering what the insurance
company would have paid out if the billing were done differently was not necessary. That said, Mr. Brenner’s case
further demonstrates the absurdity of the government’s loss theory in that it includes the payment for his medical
treatment despite no claim that it was billed improperly, or that any payment resulted from impersonation.



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just over 80% – of the total amount of money the insurance companies allowed for Mr. James’s

physician-clients treatments of the patients at issue would have been paid even if every one of

the purportedly fraudulent codes were never used.

       Accordingly, the defense objects to a 28-level enhancement for a loss amount between

$250,000,000 and $550,000,001 and a restitution amount that is equal to the loss amount. PSR

¶¶ 27, 38, 115. As set forth in more detail below, the Court should find the loss amount to be

zero, or in the alternative, use Mr. James’s total gain from his medical billing business of

approximately $63M as its starting point in calculating a reasonable and defensible loss amount

and discount that gain by approximately 80%, for a loss amount of about $12,226,397.26.

       A.        The Government Must, But Cannot, Prove A $530 Million Loss With
                 Specific Evidence

            1.      The Government Must Provide Specific Evidence to Support Its Proposed
                    Loss Amount Enhancement

       As an initial matter, if the government persists in seeking a loss amount in the tens or

hundreds of millions of dollars, the Court should only find such a loss amount if the government

has proven it by a higher level of proof than a “preponderance of the evidence.” While the

advisory Guidelines contemplate a preponderance of the evidence standard “for resolving all

disputed fact issues at sentencing,” the Second Circuit has instructed that “a more rigorous

standard should be used in determining disputed aspects of relevant conduct where such conduct,

if proven, will significantly enhance a sentence.” United States v. Shonubi, 103 F.3d 1085, 1089

(2d Cir. 1997) (citing U.S.S.G. § 6A1.3); see also United States v. Archer, 671 F.3d 149, 164 (2d

Cir. 2011) (applying “specific evidence” standard and noting that the Second Circuit has held

that “simply because a defendant was convicted of cashing forged checks, it was error to

conclude that every check he cashed was fraudulent”) (citing United States v. Spitsyn, 403 F.

App’x 572 (2d Cir. 2010) (summary order)); United States v. Martinez, 133 F. App’x 762, 764–


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65 (2d Cir. 2005) (applying “specific evidence” standard); United States v. Gigante, 94 F.3d 53,

56 (2d Cir. 1996) (“[T]he preponderance standard is no more than a threshold basis for

adjustments and departures, and the weight of the evidence, at some point along a continuum of

sentence severity, should be considered . . . . [T]he Court may examine whether the conduct

underlying multiple upward adjustments was proven by a standard greater than that of

preponderance, such as clear and convincing or even beyond reasonable doubt where

appropriate.”) (emphasis in original). The Second Circuit has reasoned that this higher burden is

necessary to counteract the advisory Guideline’s “extraordinary and totally unprecedented step”

of “prescrib[ing] punishment for unconvicted conduct at the same level of severity as convicted

conduct.” Shonubi, 103 F.3d at 1088, 1089.

       The government’s and Probation’s proposed loss amount of more than $500 million

elevates Mr. James’s offense level by 28 – increasing his proposed sentence on the fraud counts

from a maximum advisory guidelines sentence of six months (if the other disputed enhancements

are excluded), or twenty-four months (if the other disputed enhancements are included), to life

imprisonment. Because this loss calculation, which was not necessary to – or included in – the

jury’s verdict at trial, “will significantly enhance [Mr. James’s] sentence,” this Court should

require that the government provide “specific evidence” sufficient to meet the heightened burden

of proof that Mr. James’s conduct led to a $530 million loss. Shonubi, 103 F.3d at 1089–90; cf.

Gigante, 94 F.3d at 56 (opining that the more upward adjustments lengthen a sentence, the more

likely it is that those adjustments should be based on facts proven by a standard higher than a

preponderance of the evidence); see also Archer, 671 F.3d at 163 (stating the “specific evidence”

standard requires “(a) there must be evidence regarding the quantity of illicit of fraudulent goods

and (b) it has to be specific to the defendant”).




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        Courts have required that the government prove sentencing enhancements with specific

evidence where it “substantially enhance[s] the Guidelines penalty” in the contexts of drug

quantities, loss amount for insurance fraud, and the number of fraudulent visa applications and

fraudulent checks at issue. See, e.g., Shonubi, 103 F.3d at 1089 (drug quantities); Archer, 671

F.3d at 164 (visa fraud); United States v. Spitsyn, 403 F. App’x 572 (2d Cir. 2010) (summary

order) (fraudulent checks); United States v. Lonich, 23 F.4th 881, 915–16 (9th Cir. 2022) (loss

amount for insurance fraud); United States v. Schena, 2023 WL 7348458, at *2 (N.D. Cal. Nov.

6, 2023) (loss amount for insurance fraud).

        Here, the loss amount for which the government and the PSR purport Mr. James is

responsible is “dramatic”: the 28 level-enhancement for the $530 million that the PSR adopts

increases Mr. James’s advisory Guidelines minimum sentence to life imprisonment. The

government did not prove – nor could it – that Mr. James’s conduct actually resulted in this

substantial loss, but instead focused on nine patients out of tens of thousands of claims that

purportedly contained fraud. In fact, the government – after the defense submitted a detailed

written objection during trial – declined to introduce in evidence a summary chart purporting to

analyze all of Mr. James’s total claims and billings.7 Thus, the jury had no occasion to consider,

much less deliver a verdict on, the government’s allegations with respect to Mr. James’s total




7
  Prior to trial, the Court directed the government to disclose to Mr. James a “chart that identifies the specific
documents, transactions, forms, or claims that the Government intends to prove at trial were fraudulent.” ECF No.
69 at 14. The resulting claims chart, which the government described as a “master trial chart,” was riddled with
errors, including claims Mr. James never billed, medical practices he never worked with, duplicate claims, erroneous
or blank procedure codes, and an assortment of numerical errors throughout the data. See ECF No. 191 (Mr.
James’s motion to preclude the trial chart). Following the defense’s motion to preclude the trial chart, the
government withdrew the chart in its entirety. ECF No. 200. The fact that that the government ultimately withdrew
the trial chart casts further doubt on the government’s current claims that the loss amount even approaches the
government’s figure of $600 million. To the extent the government intends to produce the trial chart in sentencing,
it remains infirm for the reasons set forth in the defense’s motion in limine. ECF No. 191.



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billings. And the jury was not asked to and did not find that the entire amount Mr. James

received from the insurance companies was tainted by fraud.

           2.        The Government’s Trial Patients and Examples of Allegedly Improper Coding
                     Do Not Constitute Specific Evidence

       The government cannot meet their burden of proving that Mr. James’s conduct led to a

$530 million, or $600 million, loss by specific evidence or by a preponderance of the evidence.

Courts have specifically pointed to several flaws that are present in the government’s case here

as reasons why the proposed loss enhancement is wildly unjustified.

       First, the government’s underlying assumptions about Mr. James’s billings are not based

on a representative sample of all of the patients and doctors for whom Mr. James billed. The

government has not and could not represent that nine patients (or their family members) who

testified at trial were selected randomly or that they were a “representative slice” of Mr. James’s

book of business. Archer, 671 F.3d at 163. To the contrary, there is “good reason to think that

the [examples] presented at trial were not random, but were instead the most egregious cases” of

alleged fraud. Id. (differentiating from the sampling in Shonubi, where an expert randomly

selected four out of 103 balloons passed by the defendant after his arrest to test drug quantity and

extrapolated for quantity enhancement purposes); cf. United States v. Bandrich, 636 F. App’x 65,

67 (2d Cir. 2016) (summary order) (finding there was specific evidence at trial from multiple

witnesses “that the vast majority of the [asylum] applications were fraudulent” sufficient to adopt

an enhancement for one hundred or more fraudulent documents under U.S.S.G.

§ 2L2.1(b)(2)(C)).

       Like the imperfect selection in Archer that failed to meet the “specific evidence” standard

necessary to apply the proposed loss enhancement, the government here almost certainly chose

the nine patients out of thousands for whom Mr. James billed as, in the government’s view,



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particularly egregious examples of Mr. James’s conduct to present at trial. These nine patients

were “the easiest ones for agents to identify as fraudulent, both because the [patients] who were

most badly misrepresented were most likely to complain and those [patients’ claims] involved

assertions that were easiest to prove false.” Archer, 671 F.3d at 163. But no witness testified

that the characteristics that appeared for the treatment of and billing for these nine patients

existed in all, or even a majority, of the other patients and doctors for whom Mr. James billed.

To the contrary, Agent Tumulty testified that Mr. James had physician-clients, like Dr. Anita

Bhola, whose medical practice areas did not even fall within the offense conduct the government

alleged, and also testified that the government did not consider various billing codes Mr. James

used.8 Tr. 2447–52 (Tumulty); Tr. 2454–64 (Tumulty); Tr. 2464:6–23 (Tumulty). Because the

nine patients were almost certainly chosen for their dramatic effect at trial – and even those

patients demonstrate that the entire amount paid by the insurance companies to their treating

physicians cannot be included in the loss amount, see infra Section III.B.4 – they cannot serve as

a basis for the proposed loss amount enhancement.

        Second, the government has provided no context about the prevalence of certain alleged

issues with Mr. James’s coding such that its use in any particular patient’s billing “tells us very

little that is helpful to determining whether” its use elsewhere was similarly fraudulent. Archer,

671 F.3d at 164. In Archer, the court was concerned that the government noted the prevalence of

certain aspects in the 171 visa applications, suggesting that those aspects were what made those

applications fraudulent. Id. But the government did not provide a “baseline” for how often those




8
 Agent Tumulty swore in a search warrant affidavit in 2019 that Mr. James’s allegedly improper billing was just a
subset of all his billing. Tr. 2417:17-22 (Tumulty).



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aspects – for example, the use of fill-in-the-blank affidavits – appeared in the broader population

of visa applications, which indicates “nothing about the truth or falsity of the applications.” Id.

       Similarly, here, the government has posited, for example, that Mr. James’s use of

Modifier 59, which is “a valid modifier used in industry standards,” Tr. 1956 (Shohan), and CPT

code 11011 (complex debridement), were always used improperly, resulting in overbilling. But

the mere fact that Mr. James sometimes inappropriately used Modifier 59 or CPT 11011 codes

does not indicate that (i) every use of these codes was fraudulent, (ii) that every claim used these

codes, or (iii) that the insurance companies always accepted and paid out on those codes, such

that the government can extrapolate the loss amount to include all of Mr. James’s claims.

       Third, the government presented multiple sets of facts and theories at trial it purports to

demonstrate why Mr. James was guilty of the underlying offenses and which resulted in the

government’s proposed loss amount: (1) that Mr. James used improper coding, often using more

complex codes when simpler ones should have been used, (2) that Mr. James worked with his

physician-clients to encourage patients to report to the emergency room when they should have

reported for procedures elsewhere, which would have resulted in lower reimbursements, (3) that

Mr. James impersonated clients, and (4) that Mr. James used Modifier 59 to garner higher

payouts.

       Because the government pursued its case under multiple theories, there is no reason to

believe that the jury found each of these theories believable beyond a reasonable doubt. For

example, the jury could have found that Mr. James was guilty of health care fraud solely because

of the impersonation calls, which were played repeatedly at trial, but not viewed the other

conduct as problematic at all. Or, the jury could have found that some of Mr. James’s coding

practices were fraudulent, but rejected the idea that Modifier 59 was part of those fraudulent




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practices. Or, the jury could have only taken issue with the practice of physicians sending

patients to the emergency room when they should have reported elsewhere.

        In short, neither the government, nor Probation, nor this Court can be clear on what set of

facts the jury based its verdict. And because of that uncertainty, Mr. James’s sentence, including

the loss amount, should not include every factual theory the government presented at trial.

Doing so would “create[] an intolerable risk that a sentencing judge may subsequently impose a

[] sentence based on findings that contradict those made by the jury during the guilt phase, but

not revealed by their general verdict.” Schad v. Arizona, 501 U.S. 624, 659 (1991) (White, J.,

dissenting); see also United States v. Peterson, 768 F.2d 64, 66 (2d Cir. 1985) (recognizing “the

jury must be unanimous as to each ‘specification’ in a count of an indictment, on which it finds

the defendant guilty”) (citing United States v. Natelli, 527 F.2d 311, 324–25 (2d Cir. 1975)).

        The government’s selection of the patients to focus on at trial and its flawed coding

allegations, as well as the fact that the jury did not specify the set of facts on which it based its

verdict, render the government’s loss calculation fundamentally flawed. However, even beyond

these defects, as discussed further below, the government’s and PSR’s loss calculation is rife

with additional irreparable errors and should be rejected entirely.

        B.      The Government Cannot Prove A $530 Million Loss by A Preponderance Of
                The Evidence

        The PSR correctly acknowledges that calculating loss amount here is exceedingly

difficult because “(a) the monetary figures above assume that all monies were obtained by the

defendant’s billing companies fraudulently, and (b) the Probation Department does not have the

ability to independently analyze the voluminous claims at issue in this case.” PSR ¶ 27.

Notably, the case agent conceded to Probation that he was not sure whether one of the identified

victim insurance companies suffered an actual loss in this matter, which by itself undercuts the



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government’s position on loss amount that every single payout by an insurance company to Mr.

James’s doctor-clients was wholly fraudulent. Id. ¶ 15 n.2.

       At base, the government cannot prove by a preponderance of the evidence (much less

with specific evidence) that Mr. James’s actions resulted in a $530 million loss (or even a lower

loss). See United States v. Uddin, 551 F.3d 176, 180 (2d Cir. 2009) (holding government must

prove loss amount by a preponderance of the evidence). “In determining a loss amount for

purposes of Guidelines calculation, a district court’s findings must be grounded in the evidence

and not derive from mere speculation.” United States v. Coppola, 671 F.3d 220, 249 (2d Cir.

2012). While the Guidelines do not require “certainty,” they do require that the loss be “a

reasonable estimate based on the available facts.” United States v. Bryant, 128 F.3d 74, 75-76

(2d Cir. 1997) (quoting U.S.S.G. § 2B1.1, Application Note 3). Where, as here, because the loss

amount alleged by the government is speculative and unsupported by the evidence, it should be

entirely disregarded. See, e.g., United States v. Pina, 2019 WL 1904920, at *3 (S.D.N.Y. Apr.

11, 2019) (not crediting portion of loss asserted by government that was unsupported by

evidence and speculative); United States v. Cuti, 2011 WL 3585988, at *4 (S.D.N.Y. July 29,

2011) (finding no loss shown for sentencing purposes despite government’s claimed loss amount

of $20 million to $50 million because, among other reasons, the evidence did not show that

victims relied exclusively on fraudulent information in overpaying, making any calculation of

what overpayment was due to the fraudulent information “difficult and speculative”); see also

United States v. Deutsch, 987 F.2d 878, 886 (2d Cir. 1993) (vacating sentence where trial court’s

approximation of loss amounted to “pure speculation”).

       The government’s theories for how Mr. James’s actions led to a $530 million (or, in its

iteration, $600 million) loss cannot withstand even a modicum of scrutiny. As a preliminary




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matter, the government’s recitation of the loss amount has changed drastically over the course of

this prosecution, each time without any explanation for its calculations or response to the

defense’s objections, exhibiting these figures’ unreliability. Originally, at a December 13, 2019

status conference, the government alleged that Mr. James’s actions led to a $500 million dollar

loss among six insurance companies. Ex. 32 (Dec. 13, 2019 Transcript, Status Conference). Just

months later, the government stated that it did not “want to say every single claim” would count

toward the total amount of the fraud. Ex. 34 (April 22, 2020 Transcript, Status Conference).

Then, on the eve of trial – presumably after the government had reviewed the majority of the

evidence it planned to present at trial – the government took the position in its motion in limine

that the loss amount was $100 million, ECF No. 110 at 2 (“Law enforcement agents estimate that

the defendant fraudulently induced Insurance Companies to pay more than approximately $100

million during the course of his fraudulent scheme.”), a fact that the Court acknowledged during

a status conference on May 23, 2022, Ex. 35 (May 23, 2022 Transcript). At trial and with

Probation, however, the government returned to an unsupported position that the appropriate loss

amount is $600 million. At no time during this prosecution has the government been able to

justify any of its roaming loss amount figures.9




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  The government also cannot credibly argue that the fraud here was so “pervasive” as to justify inclusion of all of
the billings in the loss amount. Some courts outside of this Circuit have suggested that where “the fraud was so
extensive and pervasive that separating legitimate [claims] from fraudulent ones is not reasonably practical,” the
burden of showing that the loss amount is improper shifts to the defendant. United States v. Hebron, 684 F.3d 554
(5th Cir. 2012). But no cases within the Second Circuit have relied on this line of cases in determining loss amount,
and some courts, including those that align with this Circuit’s call for a heightened standard where an enhancement
threatens a substantially lengthier sentence, have expressly rejected this “extensive and pervasive” burden shifting
mechanism. See, e.g., Schena, 2023 WL 7348458, at *7. Of the handful of courts across the country that have
shifted the government’s heavy burden in this way, the vast majority were in the government benefits context. That
context stands in stark contrast to the Out-of-Network providers here, who have substantial authority in choosing
what and how much to bill for their treatment. Wilkins-Russell Report ¶¶ 8–11. This Court should decline to adopt
a novel standard here, but even if it did, Mr. James more than meets his burden in showing the government’s flawed
calculations, as discussed above and below.



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       While each of the aforementioned and below issues with the loss amount suffices to

render the government’s loss amount too speculative on which to rely on their own, all of these

issues together should result in a loss amount of zero for purposes of calculating the Guidelines

range, or at most, an evidence-based percentage of Mr. James’s gains from only demonstrably

fraudulent billings.

           1.      Mr. James Billed For Real Patients Who Received Real Procedures From Real
                   Doctors

       It is undisputed that every single claim Mr. James submitted involved real patients who

received real medical treatment from real doctors. In other words, at no point did the

government allege, let alone prove, that Mr. James billed for procedures that never happened.

To the contrary, every single patient who testified had out-of-network coverage, was treated by

an out-of-network doctor (who had the discretion to set their own price for the procedures), and

received medical treatment that was eligible for reimbursement because it occurred either in the

emergency room, or as part of a pre-planned (and therefore pre-approved by the insurance

company) surgery with a specialist. Tr. 88–91 (Quinlivan); Tr. 173:12–23 (Breidenbach),

Tr. 921:4–14 (Pash); Tr. 1000:5–14 (Smart); DX-215. While some patients (or their family

members) disputed how their physicians handled their medical treatment – that is, how their care

was described in the medical records the physicians prepared or whether the physicians

appropriately determined that some aspects of their treatment were medically necessary – there

was no dispute that they all received genuine medical care, often for serious, if not life-

threatening, conditions. Tr. 1133 (Brenner). And it was the doctors, not Mr. James, who created

the operative reports on which Mr. James relied to determine the appropriate coding. See, e.g.,

Tr. 1209:17–18 (Tehrani); Tr. 1282-83, Tr. 1286:12-22 (Martinelli); Tr. 1588:7-13 (Flanagan).

To say now that the entirety of the amount paid to these doctors for treatments that were actually



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performed should be part of the loss amount equates to an argument that these services should

have been provided for free. Calculating the loss amount as if Mr. James billed for services

never rendered, or submitted claims on behalf of patients who never received treatment, is

therefore clearly inappropriate here. Wilkins-Russell Report ¶ 13 (“Even if a health

plan/payer/third party administrator/lease network determines to deny the majority of line items

on a claim, that does not equate to the entire claim being invalid, and that does not permit a

health plan/payer/third party administrator to decline to pay the remaining valid or approved

medical procedure codes.”); id. ¶ 27 (“A determination by a health plan/payer/lease

network/third party administrator to not allow benefits on a specific claim line item does not

have any bearing on the validity of the overall claim.”).

       Similarly, the jury’s conclusion that Mr. James impersonated patients does not support a

$530 million loss amount. Far from it. The starting point for all or nearly all the claims in which

Mr. James or one of his employees posed as a patient was that the out-of-network healthcare plan

had paid some – or even a substantial amount – of a medical bill following a procedure. See,

e.g., DX-221 (noting initial payment of over $98,000 by Cigna on a patient claim). The sole

function of the impersonation calls or follow-up correspondence was to recover an outstanding

balance expeditiously and without involving the patient. It cannot be seriously disputed

insurance companies did or should have paid at least some amount of money for these surgeries

and medical procedures and thus those sums are not attributable to any improper impersonation

or fraud. See United States v. Johnson, 2018 WL 1997975, at *2 (E.D.N.Y. Apr. 27, 2018)

(finding government did not prove loss amount by a preponderance of the evidence because it

did not show that “no profit would have resulted from the [] transaction but for [defendant’s]

fraudulent behavior”); see also United States v. Alphas, 785 F.3d 775, 780–84 (1st Cir. 2015)




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(holding in insurance fraud case, where fraud involved artificially inflating insurance claims, loss

amount should not include amount the insurance company would have paid absent the fraud); cf.

United States v. Leonard, 529 F.3d 83, 93 (2d Cir. 2008) (holding district court should have

deducted purchase price of stock from actual value of stock when calculating loss amount where,

notwithstanding fraud, investors obtained stock in real company, and thus instruments were not

“entirely without value”).

           2.      Many Of Mr. James’s Billings Were Plainly Not Fraudulent

       Setting aside the fact that it cannot be seriously disputed that the insurance companies did

pay, should have paid, and would have paid Mr. James’s physician-clients at least some amount

for their real and necessary medical procedures even assuming Mr. James’s engaged in the

alleged misconduct, the government has not proven – of even set out to prove – that Mr. James

upcoded, applied a multiplier, or impersonated a patient on every single claim and every single

CPT code he submitted. The evidence that was presented at trial demonstrates that Mr. James’s

alleged misconduct was not as systematic as the government wishes it was.

               FBI Analysis of Mr. James’s Calls: The lead case agent charged with reviewing
                Mr. James’s claims testified that, out of the tens of thousands of phone calls that
                Mr. James and his employees made in connection with his billing business, see
                GX-2325, Special Agent Tumulty and another case agent identified at most
                several hundred calls in which Mr. James or one of his employees pretended to be
                patients, Tr. 2475:14–20 (Tumulty). The “several hundred calls” aside, the fact
                that Mr. James or his employees pretended to be patients on potentially hundreds
                of calls to two insurance companies does not mean that every single (much less
                any) such call resulted in an overpayment by the insurer. Tr. 2477–78 (Tumulty).

               Pre-Approved Claims: Mr. James submitted hundreds (if not thousands) of
                claims for fully pre-approved procedures, known as GAP claims; in other words,
                procedures that had been vetted, reviewed by patient health care plans, and pre-
                approved for payment prior to the procedure taking place. See Wilkins-Russell
                Report ¶¶ 11(a), 63. As demonstrated at trial, these claims – code by code,
                procedure by procedure – entirely or almost entirely track the codes provided in
                the insurance pre-approval letters, and the procedures described in the underlying
                operative report. See, e.g., DX-215; GX-107; GX-437. Indeed, for certain of the
                pre-authorized procedures, Mr. James billed fewer procedures than authorized by


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             removing from the bill procedure code(s) that the insurance company had already
             pre-approved because the doctor ended up not performing that procedure. See,
             e.g., GX-944; DX-217. One of Mr. James’s former employees verified that she
             only worked on pre-authorized surgeries when she worked for Mr. James, and that
             these kinds of pre-authorized procedures were “almost exclusively” the kinds of
             claims Mr. James submitted for payment. See Tr. 2017:5–7 (Brunner). It cannot
             be seriously disputed that the insurance company still needed to pay for the pre-
             authorized services, and the payments to Mr. James’s doctors for the procedures
             that were pre-approved do not belong in any loss amount calculation.

            Unrelated, Legitimate Claims: Similarly, the government’s proof at trial was
             limited to attempting to prove that Mr. James fraudulently coded certain
             categories of CPT codes, such as wound closures and debridement. But Mr.
             James’s physician-clients provided an array of other medical services that the
             government never introduced at trial that Mr. James billed for hundreds, if not
             thousands, of times. This indisputably legitimate coding included, for example,
             sleep studies performed by Dr. Anita Bhola, see DX-235, in-office visits with an
             established patient by Dr. Christos Stavropoulos, see DX-232, and surgical
             procedures on a thyroid, all of which were often billed as a single CPT code, see
             id.; see also DX-233-257. The government never alleged before or during trial
             that Mr. James’s coding for medical procedures outside of the handful of
             categories they identified were fraudulent, nor could it. Tr. 2467:3–5 (Tumulty);
             Tr 2468:2–7 (Tumulty).

            Limited Evidence of Any Loss Amount Attributable to Specific CPT Codes or
             Modifier Codes: The government’s loss figure relies on a wholly imprecise
             extrapolation from the billing of a handful of patients (or their family members)
             who testified at trial to the thousands of claims Mr. James filed over a multi-year
             period. The government’s loss amount calculation depends on the premise that
             Mr. James always selected the wrong code or modifier, or more complex codes
             than he should have. See ECF No. 224 (describing Mr. James’s coding as the
             “core” of his “fraudulent scheme”). But there was much evidence that disproved
             that contention, see supra Section II.A.2, and no evidence at trial actually
             demonstrating: (i) any calculated reimbursement difference between more
             complex codes and the code the government purports should have been used, (ii)
             no claims data demonstrating how often Mr. James used each of the disputed
             codes, or (iii) even evidence that, every single time Mr. James used what the
             government identified as codes generally used in a fraudulent manner, that his
             choice of code was unsupported by the underlying medical records. The
             government similarly failed to prove that Mr. James was able to collect more
             money or get automatic reimbursement for claims by applying Modifier 59 to
             claims (let alone proving how often he did so). Even if the government is right
             that Mr. James could have used (or should have used) different modifiers or
             procedure codes, the government never proved that those choices of codes led to
             insurance companies losing money. In any event, even if an insurance company
             denies one line item on a claim, or rejects certain line items because of the
             improper use of a modifier, that has “no bearing on the coverage/payment of other


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                 line items on the claim.” Wilkins-Russell Report ¶ 13. In fact, many claims
                 involve at least one denied line item, but the insurance company is still required to
                 pay out for medically necessary, covered services for the rest of the claim. Id. In
                 other words, the government’s failure to determine how much would have been
                 paid out if the allegedly improper codes and modifiers were not used is fatal to its
                 theory.

                Negotiated Settlements: Many of the claims that Mr. James submitted (and were
                 paid) ultimately featured negotiated, signed agreements between the insurance
                 providers and Mr. James, which were signed only after the insurance companies
                 received and reviewed the underlying medical records. See Wilkins-Russell
                 Report ¶¶ 11(b), 45, 47, 72. Similarly, the government’s calculation of the loss
                 amount entirely ignores the fact that some doctors paid money back to the
                 insurance companies both before and after charges were levied against Mr. James.
                 DX-202 at 2; DX-206 at 2; DX-210; DX-211 at 2; DX-217 at 2; DX-400–404; see
                 also Ex. 36 (Settlement involving Cigna and a physician client). Under the
                 Guidelines, repayments made before the discovery of this offense must be
                 discounted from the loss amount, which the government has not even attempted to
                 do. U.S.S.G. § 2B1.1(b)(1), Application Note 3(E)(i).

         As each of these categories demonstrates, and for the reasons set forth throughout

Sections III herein, the government’s proposed loss amount calculation is unreliable, speculative,

and riddled with errors. Accepting it is contrary to the evidence presented at trial. And it can

only be supported by transforming claims and coding that were indisputably legitimate into

fraud.

            3.      There Is No Evidence That Impersonation Calls Led to Any Actual Loss

         To the extent that the government’s sentencing submission will point to payments that the

insurance companies made to Mr. James’s doctor-clients following the “impersonation”

communications as a substitute or alternative way to calculate the loss amount in this case, such

an approach should also be rejected by the Court. Preliminarily, the government failed to prove

that the impersonation calls actually or consistently caused any “loss” to insurance companies –

i.e., that the calls led insurance companies to pay more for a specific claim than they should have

(or otherwise would have) done. In fact, the insurance companies often paid the doctor or

negotiated with the doctor for a procedure without any follow-up from Mr. James or his


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employees. See, e.g., GX-1190 at 2. Similarly, the trial evidence showed that there were several

instances where Mr. James or his employees impersonated a patient (or a patient called on their

own behalf), and the insurance company did not make any additional payments. For instance,

Mr. James’s impersonation of Marcus Smart did not result in a single additional dollar paid out

to Mr. Smart’s physicians. GX-1228 at 4. Nor did his impersonation of Jeff Pash. Tr. 972:21–

24 (Pash). Nor did Sam Brenner calling and stating that he had been balance billed. Tr. 1149

(Brenner). Moreover, there was no evidence presented at trial that Mr. James ever made any

such calls to United Healthcare, meaning that the government cannot include in its loss

calculation any amount received from UnitedHealth on the basis of impersonation calls. There is

a clear distinction between an alleged fraudulent act (i.e., impersonation calls) being “material”

for the purposes of a jury verdict and such a fraudulent act causing actual loss.

         Because the government failed to prove any causation between the impersonation calls

and a specific payment by the insurance company, it cannot rely on the amount insurance

companies paid after the impersonation calls in calculating loss amounts or the calculations in

the spreadsheet that Mr. James’s former employee, Eileen Nash, maintained.10 Particularly

because each out-of-network doctor also had complete freedom to charge whatever they wanted

for their services, the government has failed to prove that the phone calls Mr. James or his




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   This spreadsheet, GX 101a, cannot serve as the basis for a loss calculation for Mr. James, as it contains a host of
deficiencies for several reasons. First, it is not clear whether the individuals identified on this spreadsheet were all
impersonated by Ms. Nash or whether this spreadsheet reflected all of the patients about whom Ms. Nash was tasked
with following up about with the insurance companies. Second, and more importantly, it not clear whether the
dollar figures reflected on this document were paid by the insurance companies as a result of any impersonation by
Ms. Nash or if they were paid for some other reason – for example, the insurance companies determined that they
owed that amount regardless of any impersonation communications. Third, and relatedly, some of the listed patients
had UnitedHealth as their insurance carrier and there was no evidence at trial that there were any impersonation calls
made to UnitedHealth.



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employees made had an actual effect on the amount of money each insurance company

ultimately paid.

           4.        Even for the Trial Witness Patients, the Court Cannot Find That the Entirety
                     of the Payments for Their Treatment Constitutes Loss Amount

       A review of the evidence concerning each of the patients who testified at trial, or whose

treatment and billing was the subject of testimony at trial, definitively undercuts the

government’s claim that the entire amount billed to the insurance companies for each of these

patients was fraudulent. In fact, an objective review of the treatment and billing for each of these

witnesses supports the aforementioned point that the jury did not find and could not have found

that Mr. James actually engaged in all of the government’s theories of health care fraud. As set

forth below, even for the nine trial patients, the evidence does not support a conclusion that every

dollar the insurance companies paid was the result of fraud by Mr. James. Far from it. As is

demonstrated by the expert report of Ms. Wilkins-Russell, even accepting each and every one of

the government’s claims of fraudulent miscoding, 80.71% of the amounts allowed by the

insurance companies for the treatment of these patients would have been paid to Mr. James’s

physician-clients.

       Denise Baker: After Ms. Baker shattered a wine glass in her hand and received

treatment, including stitches, her hand surgeon, Dr. Mark Shoemann, submitted Ms. Baker’s

medical records and a list of recommended codes to Mr. James. GX-121. The operative report

described Ms. Baker’s injury as a “penetrating wound of the extremity” and claims that Dr.

Shoemann “visualiz[ed] and explor[ed] the deeper layers of the wound” before closing the “deep

layer” with two layers of stitches. GX-921 at 4. Mr. James ultimately changed one of the codes

regarding removal of a foreign body from a muscle or tendon that he was provided (from 20520,

a lower-complexity code, to 20525, a higher-complexity code). Tr. 2787:9–15 (Closing). Mr.



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James otherwise coded Ms. Baker’s claim exactly as it was provided to him by Dr. Schoemann.

DX-700 at 2. After submitting the full claim with the accompanying medical records to Aetna,

Mr. James later submitted a full copy of the HCFA form to Dr. Schoemann, who acknowledged

receipt. DX-702. While Ms. Baker contested that there was any glass in her wound at trial, Tr.

1100, she agreed that she received treatment from Dr. Schoemann after she shattered a glass on

her hand and had to receive stitches. Tr. 1100–1 (Baker). Ultimately, after a review of the

medical records, Aetna allowed $55,567.54 of the $62,500 amount billed. GX-118; GX-119;

Wilkins-Russell Report ¶ 34.

       After submitting the insurance claim form to Aetna, Mr. James pretended to be Ms.

Baker’s husband in communications with Aetna. But this misguided impersonation

notwithstanding, the government did not even attempt to prove that Aetna would not have paid

any amount, let alone the $55,567.54 it did allow, for Ms. Baker’s treatment. Put another way,

the government cannot now claim that Aetna was defrauded out of the entirety of what it paid

Dr. Schoemann simply because Mr. James impersonated Ms. Baker’s husband in seeking to

maximize and expedite the payment for this procedure.

       Ms. Baker received real, medically necessary, and covered medical care that required

insurance coverage under her healthcare plan. Wilkins-Russell Report ¶ 30. And the

government has made no effort to establish the payment disparity that would have resulted had

Mr. James billed the lower-complexity code, 20520, instead of the higher complexity code,

20525, which was in any event justified by the medical records. Indeed, as Ms. Wilkins-Russell

found, there is only a total difference of $6,255.18 between the amount the insurance company

actually allowed and the amount it would have allowed if Mr. James had billed 20520 instead of

20525. Id. ¶ 34.




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       Deja Guzman: The government has argued that Ms. Guzman was instructed by her

physician, Dr. Tahernia, to report to the emergency room for a pre-planned surgery. That said,

Ms. Guzman testified that she did, in fact, receive that surgery after two years of discussions

with Dr. Tahernia. Specifically, Ms. Guzman testified that she had severe flareups over many

years which caused her significant pain. Tr. 272:11–12 (Guzman). Ms. Guzman stated that she

had been communicating with Dr. Tahernia about potentially getting treatment for her medical

condition, but that she never communicated with Mr. James – before, during, or after her medical

care. Tr. 288–89 (Guzman). While Ms. Guzman was at the hospital, her pain was further

documented by medical staff with no connection to Dr. Tahernia or Mr. James, who said that Ms.

Guzman was experiencing “worsening pain/swelling/redness/drainages” and that her “symptoms

are worsening.” GX-800d at 10.

       Dr. Tahernia’s decision about where to meet Ms. Guzman, where to treat her, and what

surgery to perform did not involve Mr. James in any way. Tr. 289:8–15 (Guzman). Ultimately,

it is not disputed that Mr. James coded and submitted Ms. Guzman’s claim using the codes he

received from Dr. Tahernia, as well as the accompanying operative report, except for one code

that Mr. James actually downcoded. See GX-602, GX-935.

       Even if the government had shown that Mr. James conspired with doctors to encourage

patients like Ms. Guzman to report to the emergency room when otherwise unnecessary in an

effort receive larger insurance payouts (and it did not), that also does not prove that the entire

amount actually paid for Ms. Guzman’s medically necessary surgery should be considered loss

amount. In fact, United Healthcare only allowed $16,000 of the billed charge for Ms. Guzman,

and explicitly denied the CPT code that corresponded to an emergency room visit. Wilkins-

Russell Report ¶¶ 36–38. Accordingly, the $16,000 that United paid is entirely unrelated to the




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one component of this patient’s case that the government claimed was fraudulent: the

emergency room admission. This $16,000 should not and cannot be counted toward the loss

amount in this case. Id.

       Heather Quinlivan: In advance of her much-needed surgery, Ms. Quinlivan and her

doctor, Dr. Seckin, requested GAP pre-authorization from her insurance company, Aetna, for

coverage for her operation. Aetna pre-approved five different medical procedure codes. DX-

215; GX-107; GX-437. This GAP pre-authorization meant that Ms. Quinlivan’s insurer agreed

to pay for Ms. Quinlivan’s endometriosis excision surgery by Dr. Seckin and authorized each of

the pre-approved billing codes. DX-215.

       During her pre-approved operation, for which she did not report to the emergency room,

Ms. Quinlivan had to have 35 different samples from her pelvis and abdomen removed, as well

as her appendix. Tr. 108 (Quinlivan). Neither the government nor Ms. Quinlivan disputed that

adding a code, which was not pre-approved, to account for her appendix removal was

appropriate given this unexpected development during surgery. Nevertheless, Aetna did not

allow payment for that additional CPT code. Wilkins-Russell Report ¶ 68. Thus, even though

Mr. James impersonated Ms. Quinlivan’s husband after Aetna’s pre-approval and after the

surgery itself, Aetna was required by contract to pay for this pre-approved surgery using the pre-

approved codes. Id. ¶¶ 63–65. But even if Mr. James’s impersonation of Ms. Quinlivan’s

husband resulted in any additional, unwarranted payment by Aetna to Dr. Seckin (and there is no

evidence that it did, given the entire claim was GAP pre-authorized), there is no basis for the

Court to find that the entirety of the amount Aetna allowed was the result of fraud or should be

included in any loss amount in this case. Indeed, as determined by Ms. Wilkins-Russell, there is

no basis to consider any of the paid amount on this claim to be fraudulent at all. Id. ¶¶ 63–68.




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       Susan Breidenbach: Ms. Breidenbach cut her index finger with a rotary cutter. Tr. 121

(Breidenbach). An urgent care center referred Ms. Breidenbach to the emergency room at

Cedars-Sinai Hospital, where the doctor on staff X-rayed her finger, gave her lidocaine to numb

her finger, and went to stitch her hand, when Dr. Desai, a plastic surgeon, gave her 11 stitches.

Tr. 157:15–16 (Breidenbach). A few days later, Ms. Breidenbach returned to Dr. Desai to have

some bandaging removed, and again saw him a few weeks later to have the stitches removed.

Tr. 131–32 (Breidenbach).

       The evidence at trial showed that Mr. James coded Ms. Breidenbach’s health insurance

claim based on the operative report that he received from Dr. Desai. See Tr. 164 (Breidenbach)

(“I am agreeing that the statement of account reflects operation report.”); GX-949; GX-1189. In

fact, when Blue Cross Blue Shield of Illinois considered her claim, it paid out each line item

without reference to the specific CPT codes and modifiers that were included in the billed charge

that Mr. James submitted. Wilkins-Russell ¶¶ 70–71. This is because Blue Cross Blue Shield of

Illinois was serving as a Third-Party Claims Administrator, not an insurer, for Ms. Breidenbach’s

provider, who usually process the claims to pay whatever was billed, irrespective of what CPT

codes and modifiers were billed. Id. ¶ 70. Moreover, there is also no allegation that Mr. James

impersonated either Ms. Breidenbach or her husband. Accordingly, there should be no aspects

of Ms. Breidenbach’s claims that should be included in the loss amount, or even viewed as

fraudulent.

       Nevertheless, the government has alleged that Mr. James should have used a less

complex code instead of CPT code 11012 and should have omitted any codes in connection with

a hand reconstructive surgery, which Ms. Breidenbach claimed she did not receive. Tr. 496–97

(McQuade-Lantzy); Tr. 2741:7–13 (Closing). But even if the government had provided evidence




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that Mr. James somehow influenced the creation of the operative report by Dr. Desai, on which

the medical billing codes were based (it did not), the loss amount for Ms. Breidenbach should

only include the difference between what the insurance company would have paid if CPT code

11012 were replaced with a less complex code and the code associated with a hand

reconstructive surgery were omitted. Tr. 658 (McQuade-Lantzy), Tr. 762 (Battistoni).

According to Ms. Wilkins-Russell’s analysis, making these two changes would have resulted in a

difference of $47,191.25 out of $153,250.00. Wilkins-Russell Report ¶ 76. In other words, even

assuming the veracity of the entirety of the government’s allegations, the $106,058.75 paid to Dr.

Desai was not the result of actual or even alleged fraud.

       Accordingly, for Ms. Breidenbach and every other patient, it cannot be sufficient for

proving loss amount for the government to blithely – and without any actual analysis – assert that

just because one code on a claim may have been wrong, then all the coding and all the payments

were fraudulent and constitute “loss.”

       Sheila Sperber: Ms. Sperber went to the emergency room after falling during dance

class and cutting her right eye. Tr. 190 (Sperber). At the emergency room at Huntington

Hospital, Ms. Sperber saw a nurse and a plastic surgeon, Dr. Candido Fuentes. Tr. 191

(Sperber); GX-906. Dr. Fuentes gave Ms. Sperber stitches and later removed the stitches. Tr.

192 (Sperber). Mr. James billed exactly what the operative report conveyed to him – that Ms.

Sperber received stitches in the emergency room.

       The government alleged that (1) Mr. James improperly used CPT code 11011 instead of a

less complex code, and (2) improperly attached Modifier 59 to the claim. Tr. 2746–47 (Closing);

Tr. 2752:5 (Closing). In her expert analysis, Ms. Wilkins-Russell opines that even if Modifier 59

had not been included with this claim, Aetna still would have permitted the same amount to be




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paid to the physicians because this claim was resolved through a negotiated settlement, which

requires careful review of each line item on a claim. Wilkins-Russell Report ¶ 47. But even if

these two elements were removed from the claim, it would have only resulted in a difference of

$17,638.38 out of $43,671.11. Id. ¶ 49.

           It is undisputed that Mr. James subsequently pretended to be Ms. Sperber’s father on calls

with Ms. Sperber’s insurance company, Aetna, to expedite and obtain additional payment to Dr.

Fuentes for his charges for this procedure. The government, however, presented no evidence

that Aetna would not have paid the total amount billed for the emergency stitches that Ms.

Sperber received regardless of whether Mr. James made his ill-advised calls. But even if the

government had made that showing, it cannot be seriously disputed that the entire amount paid

out by Aetna for Ms. Sperber’s claims should not be included in the loss amount.

             Indeed, as with the other trial witness patients, real and necessary medical services were

provided that warranted payment by Aetna regardless of any impersonation or alleged upcoding

by Mr. James. And according to Ms. Wilkins-Russell’s analysis, even assuming the veracity of

the government’s allegations of miscoding, the payment of $21,671.11 out of $43,671.11 on this

claim was not the result of actual or even alleged fraud. Id. ¶ 51.

           Elizabeth Pash: Ms. Pash cut open her chin while on vacation. Tr. 898 (Pash). That

day, Ms. Pash ran into a friend who suggested she see Dr. Robert Jetter. Tr. 899 (Pash).11 Ms.

Pash was able to speak with Dr. Jetter, who instructed her to report to Lenox Hill Hospital

emergency room when she arrived in New York. Id. When she reported to the hospital’s

emergency room later that night, she received stitches.




11
     Ms. Pash’s husband, Jeff Pash, testified about her injury and experience.



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       There was no evidence at trial that Mr. James had any role in Dr. Jetter’s suggestion that

Ms. Pash report to the emergency room. And Mr. James coded Ms. Pash’s claim based on Dr.

Jetter’s operative report, which included specific CPT codes that Dr. Jetter had selected,

including Modifier 59. See GX-1235; DX-703. To the extent the government has alleged that

using Modifier 59 was improper here, the Explanation of Benefits that Cigna provided excluded

the modifier, “indicating that Cigna administered the claim as if there was no -59 modifier

present.” Wilkins-Russell Report ¶ 60.

       Further, while Mr. James acknowledges that he should not have impersonated Mr. Pash

in an effort to persuade the insurance company, Cigna, to pay Dr. Jetter additional money for this

case, these impersonation calls did not result in any further payment by Cigna. Accordingly, Ms.

Pash’s treatment and billing involved, at worst, an attempted fraud by Mr. James on account of

his impersonation communications, but there is no basis to include any amount that Cigna paid

Dr. Jetter in the loss amount calculation. Wilkins-Russell Report ¶¶ 58–62.

       Marcus Smart: Mr. Smart was rushed to the emergency room to treat his lacerated hand

after he punched a picture frame in a hotel room. Tr. 984:3–13 (Smart); GX-916 at 5. When he

got to the emergency room, Mr. Smart had to undergo a complicated hand surgery to address

significant injuries, including the removal of a substantial amount of glass. GX-916 at 6. The

operative report stated that during surgery, Mr. Smart received pain numbing medication,

including nerve blockers, and Dr. Desai performed an irrigation, debridement with removal of a

foreign body, wound exploring, soft tissue repair with removal of glass, and repair of tendons.

GX-916 at 6.

       At trial, Mr. Smart disputed that Dr. Desai actually repaired his tendon, as the operative

report stated. Tr. 1007–09 (Smart); GX-916 at 1. But, as Mr. Smart’s explanation of benefits




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reflects, GX-1228, it was not disputed that Mr. James billed Cigna exactly what was described in

the operative report: nothing more and nothing less. Indeed, for a medical biller like Mr. James

to not include a CPT code for a clearly identified procedure in a medical report would itself be

improper. And after requesting and reviewing the underlying medical records, Cigna allowed

$98,537.75 for the treatment Mr. Smart received in the emergency room. Wilkins-Russell

Report ¶ 57; DX-221. To the extent the jury actually believed that Mr. Smart’s tendons were not

repaired during this surgery, removing that claim would not have resulted in a non-payment by

Mr. Smart’s insurance company, Cigna. Wilkins-Russell Report ¶¶ 13, 57. Instead, it would

have resulted in a payment reduction of $39,000 out of $98,537.75. Id. ¶ 57.

       While it is again undisputed that Mr. James impersonated Mr. Smart on subsequent

telephone calls with Cigna, Tr. 1013 (Smart); GX-35, he only did so after Cigna had completed

their own independent review of Mr. Smart’s medical records and agreed to pay for the bulk of

Mr. Smart’s medical bills. And it is important to note that Cigna did not make any additional

payments to Mr. Smart’s physicians after Mr. James called and attempted to collect the

outstanding balance. Tr. 1013:8–17 (Smart); Tr. 1018–20 (Smart).

       Accordingly, at most, even if the tendon repair coding was somehow improper – which

would have been entirely unknown to Mr. James – the loss amount should only include the

amount the insurance company would have paid for that single tendon repair code, $39,000, not

the entire $98,000.

       Samuel Brenner: The evidence at trial indisputably supported the following as to Mr.

Brenner: (i) he received medically necessary treatment after an accident during which he hit his

head and received stitches; (ii) Dr. Desai performed that treatment; (iii) Mr. James properly




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coded for this claim; and (iv) the insurance company, Cigna, did not pay Dr. Desai any

additional amounts following Mr. Brenner’s calls to Cigna claiming he was being balance billed.

          Mr. Brenner testified that he got into an accident on an e-scooter. Tr. 1120:4–7

(Brenner). He went to a nearby hospital, Cedars-Sinai, where the hospital staff cleaned his

wound, which spanned 3-4 inches on his forehead, Tr. 1134 (Brenner); DX-704, and gave him

stitches, Tr. 1120:11–12 (Brenner). As he went to leave the hospital, his forehead started to

bleed again, and he was readmitted to the emergency room. Tr. 1120:14–17 (Brenner). Dr.

Desai reopened the wound, cleaned it, and stitched him back up. Tr. 1120:18–21 (Brenner). Mr.

Brenner testified that he was pleased with the work that Dr. Desai performed, and he posted a

Google review praising his treatment. Tr. 1137–38 (Brenner).

          The government has never alleged – nor could it – that (1) Mr. James’s HCFA form for

this procedure was fraudulent, Tr. 1139:16–21 (Brenner); (2) Mr. James billed for codes that

were inappropriate for the procedures performed; or (3) Mr. James impersonated Mr. Brenner in

seeking to have Cigna pay the balance of the costs of his medical treatment. In other words, any

amount Cigna paid in connection with Mr. Brenner’s medically necessary treatment at Cedars-

Sinai should not be included in the loss amount, as the government incredulously argues it

should.

          To the extent the government argues that Mr. James’s encouraged Mr. Brenner to call

Cigna himself and claim he was balance billed demonstrates that Cigna’s payments to Mr.

Brenner were all a result of fraud, that argument fails for various reasons. First, Cigna did not

pay Dr. Desai any additional money after Mr. Brenner’s calls. Second, it is clear that Cigna

owed Dr. Desai payments for his medically necessary, covered services to Mr. Brenner

regardless of whether Mr. Brenner falsely claimed to be balance billed for this procedure. Put




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another way, a manufactured assertion that a patient was balance billed does not and cannot turn

an otherwise legitimate healthcare claim form into a wholly fraudulent one.

       Victoria Motley: As discussed supra Section II.A.2, the PSR mistakenly adopts the

government’s version of events regarding Ms. Motley’s treatment, who implausibly claimed to

the jury that she only had a tummy tuck surgery and not a hernia surgery, when thirty-three

separate notations in her medical records by many medical staff other than Dr. Rhee indicated

she received hernia surgery. Tr. 2487–90 (Tumulty); DX-713; GX-136. With respect to the

allegation that Mr. James “directed the physician-client to process [Ms. Motley] through the

emergency room for a hernia,” the evidence at trial showed no such thing. In fact, Mr. James

received an operative report for Ms. Motley with the subject line “UHC ER patient.” DX-713;

DX-226. There was no evidence presented at trial that Mr. James had any role in directing Ms.

Motley to report to the emergency room for her hernia surgery or in altering Ms. Motley’s

operative report to indicate that she in fact received hernia surgery. No reasonable juror could

have concluded that Ms. Motley did not receive a hernia surgery or, if she did not, that Mr.

James was aware of this fact. Thus, this treatment’s inclusion in Mr. James’s billing should not

be taken into account when calculating the loss amount.

       To the extent any of Mr. James’s conduct was improper in relation to Ms. Motley – and it

was not – the only amount that could have been included in the loss amount was the amount paid

in connection with any CPT codes related to reporting to the emergency room. But United

denied the CPT code associated with an emergency room admission. Wilkins-Russell Report

¶ 44. Accordingly, there is no aspect of Ms. Motley’s treatment and subsequent billing that

could contribute to the loss amount, and the allowed amount of $19,000 cannot and should not be

included in any loss amount. Wilkins-Russell Report ¶¶ 39–44.




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                                         *        *      *

       These nine patients are just a snapshot of the claims for which Mr. James billed, and

each, on its own, demonstrates a fundamental flaw with the government’s theory for calculating

the loss amount. For none of these patients would Mr. James’s conduct have resulted in no

payment from the insurance company, as the government suggests was the case for every single

claim for which Mr. James billed. See Wilkins-Russell Report ¶ 13 (“[T]he denial of one

procedure code line item on a claim has no bearing on the coverage/payment of other line items

on the claim.”). The government thus cannot, nor has it attempted to, prove by a preponderance

of the evidence, much less by the heightened specific evidence standard, that the entirety of the

amount the insurance companies billed in connection with Mr. James’s billings was fraudulent

and thus should be included in the loss amount.

           5.      Two Insurance Companies Reported Actual Loss

       Two of the purported six insurance company victims have provided a statement as to how

much they believe they lost as a result of Mr. James’s alleged misconduct: a total of $83 million,

far short of the $600 million the government proposes. Specifically, Aetna estimated – with no

explanation for how it made its calculation – that it paid out approximately $50 million for all of

Mr. James’s claims. In addition to being unsubstantiated, this figure appears to suffer from the

same flaws as the government’s overall calculation. For example, Aetna’s figure accounts for

“the total amount Aetna paid to Mathew James affiliated medical providers,” PSR ¶ 30, during

the relevant time period, rather than the difference between that total amount and what Aetna

would and should have paid for the procedures absent Mr. James’s alleged misconduct; as

importantly, it does not account for legitimately billed claims and CPT codes.




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       Similarly, Cigna claims that it “paid over $33M as a direct result of [Mr. James’s]

scheme of billing for services not rendered, misrepresenting the nature of the services provided

and routinely impersonating Cigna customers with fabricated complaints of balance billing.”

But there is no dispute that all of these procedures were actually performed, and Cigna provides

no explanation for how it calculated this figure, making it inherently unreliable.

       While both of these figures are fundamentally flawed, these are the only two insurance

companies that have provided a statement as to how much Mr. James’s conduct allegedly cost

them. Indeed, as previously noted, one of the case agents responsible for this matter

acknowledged to Probation that it is unclear whether HealthFirst, another of the alleged victim

insurance companies, suffered any loss at all. PSR ¶ 15 n.2. After four and a half years since

Mr. James’s arrest and many months, if not years, of investigation before then, the government

should not be permitted to now assign massive loss figures in the hundreds of millions of dollars

to four of the six alleged victim insurance companies who did not report an actual loss amount to

the government or Probation, despite ample opportunity to do so.

       C.      The Court Should Substitute A Portion Of Mr. James’s Gain In Lieu of
               Actual Loss, Which “Reasonably Cannot Be Determined”

       As set forth above, the government has not (and cannot) proven that Mr. James’s conduct

led to an actual loss of nearly $530 million (or $600 million) by a preponderance of the evidence,

let alone under the applicable specific evidence standard. The government’s back-of-the

envelope extrapolation methodology in calculating the loss amount fails to take into account the

difference (if any) between the amount the insurance companies paid to Mr. James’s physician-

clients as a result of using more costly codes and/or modifiers inappropriately on the one hand,

and the amount that the insurance companies would have paid for the out-of-network procedure

but for the alleged fraud on the other. This calculation would require a comparison between the



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codes, the underlying medical records, and the amount that specific doctors decided to charge for

the out-of-network procedures, which the government has not endeavored to undergo. Even if

that calculation had been done, the government’s loss amount also fails to identify and exclude

(1) all properly-billed claims and codes, (2) all pre-approved claims, (3) all payouts that would

have been paid regardless of whether an impersonation call was made, and (4) all amounts Mr.

James’s physician-clients paid back to insurance companies after they agreed to a settlement of a

contested claim and before the offense was detected.12

         Because the loss “reasonably cannot be determined,” the Guidelines instruct the Court to

calculate the loss amount as “the gain that resulted from the offense.” U.S.S.G. § 2B1.1,

Application Note 3(C). To determine the defendant’s gain, the Court must make a “reasonable

estimate” of the gain that resulted from the offense. Guidelines § 2B1.1, Application Note 3(B);

see United States v. Tzolov, 435 F. App’x 15, 16–17 (2d Cir. 2011) (summary order) (affirming

lower court’s use of gain instead of actual loss where “the loss inflicted was not readily

calculable”); Yaron v. United States, 586 F. App’x 819, 822 (2d Cir. 2014) (summary order)

(affirming use of gain instead of loss where “precise amount of the loss could not be reasonably

determined” in kickback scheme); United States v. Romano, 794 F.3d 317, 338–39 (2d Cir.

2015) (using gain to calculate actual loss because loss could not be reasonably determined);

Johnson, 2018 WL 1997975, at *1 (using gain to calculate Guidelines and rejecting

government’s contention that all profit made as a result of fraudulent scheme should constitute

loss because the “causal connection between the criminal conduct for which [the defendant] was



12
  At trial, the government conceded that all of these physicians were permitted to charge however much they
wanted for their out-of-network services. Tr. 828 (Battistoni). And conversely, to the extent those patients had out-
of-network coverage with their respective insurance plans, it is not in dispute that each of the victim insurance
companies was obligated to pay some (if not all) of the amount to, among other reasons, prevent their members from
bearing any of the costs. Tr. 1874–75 (Shohan).



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convicted and the approximately $4.2 million in profit that [the defendant’s employer] made on

the deal is too attenuated to support this enhancement”); United States v. Butler, 264 F.R.D. 37,

39 (E.D.N.Y. 2010) (affirming use of gain instead of actual loss because “the loss attributable to

the offenses was found to be impossible to determine”); United States v. Parris, 573 F. Supp. 2d

744, 748 (E.D.N.Y. 2008) (calculating loss by determining gain traceable to defendants’ frauds

and sentencing defendants to 60 months incarceration, where Guidelines range was 360 months

to life).

            Admittedly, substituting gain for loss is subject to some of the same issues as the

government’s loss estimate. For instance, using Mr. James’s gain as a loss estimate would not

take into account the amount Mr. James would have earned but for the offense conduct, which as

set forth above, would have been a substantial sum even assuming the veracity of the

government’s fraud allegations. Thus, to best account for the Guidelines’ “rigidity and artificial

precision,” United States v. Malki, 609 F.3d 503, 508 n.3 (2d Cir. 2010), the Court should deduct

from the total amount of compensations Mr. James received any amount that he would have been

paid but for any of the alleged fraud. As set out in Ms. Wilkins-Russell’s report, for the eight

trial patients she reviewed, the insurance companies would have paid 80.71% of the allowed

amounts if all of the CPT codes and modifiers the government alleges were fraudulent had been

the “proper” or “correct” CPT codes. Put another way, accepting all of the government’s

miscoding allegations as true, 19.29% of the payments to Mr. James were the result of the

alleged fraud. 19.29% of Mr. James total gain of $63,382,049.02, PSR ¶ 25, is $12,226,397.26.

Accordingly, at most, Mr. James’s Guidelines range should include a 20-level enhancement (as

opposed to 28) for the loss amount. Using this 20-level enhancement for loss amount, plus a

base offense level of 7, and deducting 2 levels for Mr. James’s lack of criminal history pursuant




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to U.S.S.G § 4C1.1, Mr. James’s total offense level should be 25, for a Guidelines range of 57 to

71 months’ incarceration.

       D.      Regardless of the Loss Calculation Used, the Guidelines Range Overstates
               the Seriousness of the Offense

       Regardless of the loss amount this Court applies, it is widely recognized that in fraud

cases, the Guidelines’ emphasis on loss amount drastically “overstate[s] the seriousness of [the]

offense.” United States v. Rivernider, 828 F.3d 91, 111, 114 (2d Cir. 2016); see also United

States v. Adelson, 441 F. Supp. 2d 506, 509 (S.D.N.Y. 2006), aff’d, 301 F. App’x 93 (2d Cir.

2008) (“[T]he Sentencing Guidelines, because of their arithmetic approach and also in an effort

to appear ‘objective,’ tend to place great weight on putatively measurable quantities, such as . . .

the amount of financial loss in fraud cases, without, however, explaining why it is appropriate to

accord such huge weight to such factors.”); see also Transcript at 23:1–7, United States v.

Faibish, No. 12 Cr. 265 (ENV) (E.D.N.Y. Mar. 10, 2016), ECF No. 271 (decrying the loss

table’s tendency to “just mindlessly accelerate[] once you have numbers of any size added in the

loss or gain table,” and noting “a whole host of judges . . . have said so publicly and scores of

others . . . have . . . grumbled about it privately”). The Second Circuit has recognized the

disproportionate effect a high loss amount can have on a sentence and has invited district courts

“to consider whether the significant effect of the loss enhancement, in relation to the low base

offense level, should result in a non-Guidelines sentence.” United States v. Algahaim, 842 F.3d

796, 800 (2d Cir. 2016); see also U.S.S.G. § 2B1.1 Application Note 21(C) (noting that the basis

for a “downward departure may be warranted” where the offense level “substantially overstates

the seriousness of the offense”).

       Courts within this Circuit, including this Court, have accepted the Second Circuit’s

invitation to depart downward where the loss amount drastically inflates a proposed sentence.



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See, e.g., Johnson, 2018 WL 1997975, at *1, *6 (finding the Guidelines’ “feeble underpinnings

of the loss enhancement” to be “galling,” and departing from Guidelines imprisonment range of

87 to 108 months to impose a sentence of 24-months imprisonment); Sentencing Tr., United

States v. Thompson, No. 19 Cr. 698 (ER), at 28-29 (S.D.N.Y. Feb. 4, 2021), ECF No. 49

(departing from Guidelines imprisonment range of 36 to 47 months to impose a sentence of time-

served and three years’ supervised release when “the fraud guidelines put entirely too much

emphasis on the amount of the fraud”); United States v. Gupta, 904 F. Supp. 2d 349, 353, 355

(S.D.N.Y. 2012), aff’d, 747 F.3d 111 (2d Cir. 2014) (departing from Guidelines range of 78–97

months’ imprisonment to impose a sentence of 24 months’ imprisonment because the guidelines

range – two-thirds of which is the product of the gain calculation – “does not rationally square

with the facts of this case”); see also Letter in Conjunction with the Sentencing, United States v.

Pellegrino, No. 18-cr-496 (E.D.N.Y. Oct. 10, 2019) (Seybert, J.), ECF No. 31, and Minute

Entry, id. (Oct. 18, 2019), ECF No. 32 (sentencing defendant convicted of submitting fraudulent

claims to private insurers, who had Guidelines range of 37-72 months, to 18 months’

imprisonment).

       In sum, the loss enhancement alone increases Mr. James’s sentencing range on the

healthcare fraud counts from 18-24 months (level 15) to life imprisonment (level 43).

Sentencing Mr. James to a term of imprisonment reserved for the most violent offenders would

be, to put it mildly, “galling.” Johnson, 2018 WL 1997975, at *1.

IV.    A SUBSTANTIALLY BELOW-GUIDELINES SENTENCE IS SUFFICIENT BUT
       NOT GREATER THAN NECESSARY TO SERVE THE PURPOSES OF
       SENTENCING

       This Court should impose a substantially below-Guidelines sentence of the mandatory

minimum 24 months’ incarceration, which is sufficient but not greater than necessary to reflect

Mr. James’s history and characteristics, seriousness of the offense, promote general and specific


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deterrence, and protect the public. See 18 U.S.C. § 3553(a); Gall v. United States, 552 U.S. 38,

50 (2007) (noting the court should “not presume that the Guidelines range is reasonable” but

“must make an individualized assessment”). Particularly because the Guidelines range is “not to

be presumed reasonable,” Nelson v. United States, 555 U.S. 350, 352 (2009) (emphasis in

original), and the loss enhancement here, as in most cases, “leads to a patently absurd sentence,”

this Court should “rely more heavily on the § 3553 factors,” Johnson, 2018 WL 1997975, at *4.

       A.      Mr. James’s History and Characteristics

       The depth and breadth of Mr. James’s service as a nurse in this district and elsewhere, his

longtime role as caregiver to his parents, his devotion to his wife and children, his struggles with

alcohol, and his countless selfless (and quiet) acts of support to extended family, friends,

neighbors, and his church distinguish Mr. James from many, if not most, defendants who the

Court has sentenced. Mr. James’s extraordinary history and characteristics, as well as how this

lengthy prosecution has affected his life and impacted his family, strongly mitigate in favor of a

substantially below-Guidelines sentence.

       First, Mr. James has dedicated his life to building up and helping people around him.

From his early days in India, to his time studying and working as a nurse in Germany, to moving

to the United States to be hopefully able to send money to his family back home, to housing and

caring for his elderly and infirmed parents for 14 years, Mr. James’s primary objective has

always been to serve those in need and support his family and friends. As more fully described

supra Section I.D–H, Mr. James has always found his purpose through his family and

community, which has grown to include the network of friends, neighbors, colleagues, and

patients that he has cultivated and assisted over the years. As noted above in Section I, Mr.

James’s support for his nephew helped allow him to overcome a substance abuse problem and

obtain a nursing degree, Ex. 4 (A. James Letter), and Mr. James’s assistance to his cousin and


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sister-in-law were instrumental to their lives and careers in this country, Ex. 8 (L. Jose Letter);

Ex. 9 (A. Joseph Letter); Ex. 10 (V. Varghese Letter).

       Mr. James’s care for his friends and neighbors led one such friend to credit Mr. James

with                                                              during the pandemic. See Ex. 11

(S. Basso Letter). Another friend recognized Mr. James’s efforts in physically caring for the

friend’s father before he passed away with                 that same friend




See Ex. 23 (D. Kennedy Letter). Mr. James’s care for those around him extends beyond his

nursing support for friends; even in the aftermath of a devastating conviction, Mr. James has

pushed forward in ecumenical volunteer service, regularly spending time contributing to the

operations of Christ Lutheran Church. See Ex. 31 (Christ Lutheran Church Volunteer Letter).

As the Honorable Joseph Covello, a neighbor and former judge in New York’s Appellate

Division, Second Department and other jurisdictions, as well as a member of the New York State

Joint Commission on Public Ethics, recalls, Mr. James quickly provided

                                                              Ex. 13 (J. Covello Letter). Judge

Covello further describes Mr. James as “a leader in our community as well as extremely

benevolent.” Id. Mr. James’s community knows him best—and the person who they know is

“kind,” “family-oriented,” “sincere and comforting,” “considerate, generous,” and a “rare

[person] that is willing to [go the extra mile] … without expecting anything in return.” Ex. 12 (K.

Bullis-Byrd Letter); see also Ex. 13 (J. Covello Letter); Ex. 22 (E. Hogan Letter); Ex. 24 (D.

Kern Letter); Ex. 28 (G. Pomerantz Letter).




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           Mr. James first started studying medicine at a nursing program in Germany while

working at an area hospital. He decided to move to the United States after a few years to join his

brother and try to build a better life for himself and his family. With both moves, Mr. James had

to start from scratch, find his community, learn the language, and develop the skills to serve

patients at their most vulnerable. When he first moved to the United States, Mr. James lived

with his brother, John, and John’s wife in a small, single room, had to skip meals when they

could not afford to purchase food, and worked multiple jobs to make ends meet. Ex. 4 (A. James

Letter); Ex. 5 (J. James Letter). He used what little free time he had to volunteer to help women

with high-risk pregnancies in low-income communities. Ex. 5 (J. James Letter).

           After he graduated early with his nursing degree from the University of South Dakota,

Mr. James started his career in the United States as a nurse in Long Island hospitals. He began

as an operating room nurse at the Rapid City Regional Hospital in South Dakota, and then spent

fifteen years at Huntington Hospital. Not only was he a “well-respected member of the surgical

team” at Huntington Hospital, but he also addressed “unexpected emergencies,” was “the first to

volunteer to step up to meet the needs of the operating room as well as offering assistance to his

coworkers,” and served as “a mentor to several new staff members during their orientation.” Ex.

15 (E. Dobson Letter). During this time, Mr. James worked to balance his hectic, but personally

meaningful, role as a nurse with building his family, and his children became the primary focus

of his life. Ex. 3 (R. James Letter); Ex. 6 (Placheril Family Letter). Mr. James exhibited the

same care as he did for his patients when his daughter, Milenia,

                                                  Ex. 1 (Milenia James Letter); Ex. 2 (E. James

Letter).




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       After more than fifteen demanding years as a nurse – and years of training before then –

helping thousands of patients and training other nurses, Mr. James transitioned full time to the

goal he always had: running his own business. And when he made the transition to the medical

billing industry, one of Mr. James’s priorities was to do the best job he could for his doctor-

clients, but also to try to have these doctors’ patients avoid needing to interface with insurance

companies while they recovered from often serious medical conditions and treatments.

       But, while Mr. James could never have dreamed of the financial renumeration he

obtained during these years, he understands that his troubling and lamentable “impersonation”

communications were the result of the ends justifying the means, cutting corners, and getting

carried away with trying to maximize and more quickly get his doctor-clients (and by extension

Mr. James) paid for their legitimate and necessary medical services without involving the

patients themselves. Mr. James was also undoubtedly rude, obnoxious, and crude on several

occasions when pretending to be patients on calls with insurance companies. It is an

understatement that those are not proud moments for Mr. James, and he does not seek to

minimize the offensive nature of those calls. Mr. James’s impersonation calls and those of his

employees will always be a significant stain on Mr. James, and he feels deep remorse for his

actions. If Mr. James could turn back time, he would never have taken those steps pretending to

be patients and communicating to the insurance companies that the patients had been balance

billed, when they had not.

       Nevertheless, this prosecution has already all but destroyed Mr. James’s livelihood and

devastated his family. During the four and a half years since his arrest – an inordinately long

time to be kept under the threat of conviction, and now prison – Mr. James has fully complied

with the conditions of his release, continued to rely on his faith, tried to be there for his friends




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and family as Ms. James went back to work as a nurse and his children continued their studies,

and he has cooperated with the government to sell his properties and forfeit his earnings.

       Mr. James’s family has watched in fear as Mr. James awaits his uncertain future. His

daughter, Milenia,

                                       . And his son, Evan,

                                                      . Mr. James’s mother,

                             is concerned that the “whole family is crumbling” under the stress of

this prosecution. Ex. 4 (A. James Letter). That Mr. James has already lost so much, and that he

has had his life frozen in time since July 2019, should be taken into account when the Court

determines his sentence. Although his children are now young adults, a lengthy prison sentence

will deprive them and Ms. James of the essential support and love that Mr. James provides.

       Second, Mr. James’s complete lack of any criminal history, placing him in Criminal

History Category I, makes the likelihood of him recidivating extremely low. See U.S.

Sentencing Comm’n, Recidivism Among Federal Offenders: A Comprehensive Overview 5

(Mar. 2016), https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

publications/2016/recidivism_overview.pdf (“A federal offender’s criminal history [is] closely

correlated with recidivism rates . . . . Each additional criminal history point [is] generally

associated with a greater likelihood of recidivism.”); United States v. Cosimi, 368 F. Supp. 2d

345, 349 (S.D.N.Y. 2005) (noting that defendant’s “lack of criminal history,” among other

things, “indicate[s] that he presents a low danger of recidivism”); see also United States v. Smith,

321 F. Supp. 3d 405, 409 (E.D.N.Y. 2018) (noting defendant’s lack of criminal history makes

him “unlikely to recidivate”), aff’d, 945 F.3d 729 (2d Cir. 2019). In fact, as argued above, Mr.




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James is eligible for a 2-level reduction in his Guidelines calculation because of his lack of

criminal history. See supra II.B.3.

       Third, older offenders like Mr. James, who is 56, PSR at 2, are far less likely to recidivate

than younger offenders. See U.S. Sentencing Comm’n, Effects of Aging on Recidivism Among

Federal Offenders 3 (Dec. 2017), https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/research-publications/2017/20171207_Recidivism-Age.pdf (finding that older

offenders are “substantially less likely than younger offenders to recidivate following release”

and that age “exert[s] a strong influence on recidivism across all sentence length categories”);

see also United States v. Carmona-Rodriguez, 2005 WL 840464, at *4 (S.D.N.Y. Apr. 11, 2005)

(collecting cases) (granting below-Guidelines sentence in part due to defendant being 54 years

old and “low probability” that she would recidivate”). Statistics show that the older an offender

is, the less likely he is to recidivate. For example, arrest rates drop to just over two percent for

people ages 50-65, and to almost 0% for those older than 65. See Rebecca Silber et al., Vera

Inst. of Just., Aging Out 3 (Dec. 2017), https://www.vera.org/downloads/publications/Using-

Compassionate-Release-to-Address-the-Growth-of-Aging-and-Infirm-Prison-

Populations%E2%80%94Full-Report.pdf; see also United States v. Hamilton, 323 F. App’x 27,

30–31 (2d Cir. 2009) (holding lower court abused discretion by not considering age recidivism

as a policy argument for a downward variance). A lengthy prison sentence, such as 15 years,

would result in Mr. James getting out of jail at close to 70 years old, which would make it even

more challenging for Mr. James to reintegrate into and meaningfully contribute to society.

       Finally, although he has long struggled with alcohol abuse, which began years prior to his

arrest, Mr. James sought outpatient alcohol abuse treatment following his trial at WellLife

Network in Huntington, New York. PSR ¶ 80. Through this program, Mr. James attends




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therapy sessions weekly. Id. WellLife has reported to Probation that Mr. James was doing well

as of this summer. First Addendum at 1. Mr. James hopes to take advantage of programs while

incarcerated to maintain his sobriety. See 18 U.S.C. § 3553(a)(2)(D) (considering “medical care,

or other correctional treatment” when determining the need for the sentence). And Mr. James’s

efforts to control his drinking reflect positively on his ability to be a contributing member of

society after his, hopefully, limited jail term.

        Mr. James’s history and characteristics, including his long service as a nurse, his

dedication to and many quiet good deeds toward his family, friends, and his church, his lack of

criminal history, his long-term compliance with the conditions of his pretrial release, and his age,

support a significantly below-Guidelines sentence.

        B.       The Nature and Circumstances of the Offense and the Need for Just
                 Punishment Merit a Substantially Below-Guidelines Sentence

        While Mr. James’s crimes of conviction are undoubtedly serious, the advisory Guidelines

and Probation’s recommendation provide for a penalty that is disproportionate to Mr. James’s

conduct and would serve no legitimate sentencing purpose.

        First, as noted already, Mr. James fully recognizes the harm that his impersonation

communications have caused. He got lost along the way in his efforts on behalf of his doctor-

clients and their patients. These actions, as well as the content of these calls, are serious and Mr.

James is genuinely sorry for them. Mr. James considered the medical billing space as a struggle

between insurance companies who would do everything to shortchange his physician-clients and

their patients,13 for whom he had an obligation to seek maximum reimbursement for their

services. See GX-102 at 3 (Mr. James’s coding class at Molloy College regarding “maximum



13
   As one insurance company representative testified at trial, his team was evaluated based on how much money they
clawed back from doctors for insurance payments. Tr. 1928:1–24 (Shohan).



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reimbursement”). This was particularly true for the patients who underwent surgery, were

critically ill, or suffered from a cancer diagnosis for whom interfacing with insurance companies

would have added to their post-recovery burdens. Indeed, even accepting the government’s

characterization of the offense conduct, the evidence at trial demonstrated that Mr. James viewed

his efforts as well-intentioned, though undoubtedly financially beneficial to his physician-clients

and him. Cf. Tr. 311, 318:1–3 (Nash); Tr. 885:6–12 (Persky); Tr. 1414:10–11 (Cutrone). Mr.

James never intended to harm patients financially or otherwise, and no patient testified that their

credit was impacted or that they were actually balance billed. See Tr. 958 (Pash) (testifying Mr.

James’s conduct did not harm credit); Tr. 1020 (Smart) (same). And although it was not a legal

defense that the Court permitted at trial, Mr. James believed that the insurance companies’

consistent approval of claims he submitted, including after the insurance companies reviewed

every medical record to which he had access or engaged in a prolonged negotiated settlement,

was proof that his billing and coding were proper and certainly not criminal.

       Second, as the above objections to the PSR’s offense conduct and opposition to the

proposed loss amount make clear, the defense takes issue with the government’s view that the

nature and circumstance of the offense include intentional, bad faith, and systematic upcoding

and miscoding by Mr. James or conspiring with doctors to have non-urgent procedures through

the emergency room. Accordingly, the defense respectfully submits that Mr. James should not

be sentenced for that alleged and unproven misconduct. This submission details several

examples of Mr. James’s indisputably legitimate coding efforts, and even undercoding claims,

see supra Sections II.A.2, III.B.4, but there were many others that came out at trial. See, e.g.,

DX-112; DX-113; DX-116; DX-125; DX-126; DX-129; DX-139; DX-140; DX-141; DX-142.




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        To detail just one additional example, Cigna’s witness at trial, Barbara McQuade,

reviewed Mr. James’s coding of an operative and consultation report, GX-1093 at 4-7, compared

it to Mr. James’s HCFA form for that procedure, GX-448, and testified that Mr. James’s coding,

including the use of an emergency room CPT code, was entirely appropriate. Tr. 677

(McQuade).14 In a similar vein, there were examples of Mr. James billing for fewer procedure

codes than insurance companies pre-authorized in a GAP procedure. GX-944, for example, is a

GAP authorization for patient Leah Morton, which reflects the pre-approval of four CPT codes.

GX-944 at 6–7. But Mr. James ultimately only billed for three of those codes because the fourth

CPT code was not reflected in the actual operative report of Ms. Morton’s procedure. See DX-

217 at 1. These examples of Mr. James coding in good faith and based on the doctor’s operative

report even if the financial ramifications were less remunerative for the doctor and Mr. James

undermine the government and Probation’s portrayal of Mr. James and the offense conduct. And

the government could not identify a single case where Mr. James sought more money from an

insurance company than the doctor charged for their services or that was owed on an outstanding

balance.

        Considering these factors, and in light of the “draconian” nature of the advisory

Guidelines, particularly for financial crimes and fraud, see Transcript at 80, United States v.

Caspersen, No. 16 Cr. 414 (JSR) (S.D.N.Y. Nov 4, 2016), ECF No. 37, Mr. James should

receive a substantially below-Guidelines sentence.




14
  Ms. McQuade also testified that even the most experienced and certified medical biller, which Mr. James was not,
can make mistakes in coding and those mistakes can repeat themselves, if not corrected. Tr. 664 (McQuade), Tr.
1942–3 (Shohan).



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       C.      A Substantial Prison Sentence Will Not Further Goals of Specific or General
               Deterrence

       A significantly below-Guidelines sentence will satisfactorily further the goals of specific

and general deterrence.

       As discussed above, the consequences of this prosecution, as well as Mr. James’s familial

support, make it exceedingly unlikely that Mr. James will recidivate, negating the need for

further specific deterrence. Mr. James’s business and professional reputation have been

destroyed as a result of this case. His family already has been, and will continue to be,

significantly impacted by its patriarch losing his livelihood, the past 54 months of this

prosecution, and Mr. James being imprisoned. But even with the prospect of prison hanging

over his head, Mr. James has followed every pre-trial condition of release, and made efforts to

continue to positively contribute to the lives of his family, friends, neighbors, and church.

       Even with his career decimated and future uncertain, Mr. James’s family and community

have stood by him, which “speak[s] to his character and, importantly . . . a very decreased

likelihood of recidivism going forward.” United States v. Pena, 459 F. Supp. 3d 544, 547

(S.D.N.Y. 2020); United States v. Jones, 2015 WL 3484466, at *5 (S.D.N.Y. June 2, 2015)

(finding letters of support from friends and family evidenced defendant had “a life and a

community to return to, and a good chance at not recidivating”). At home, Mr. James’s wife,

Reena, has reiterated that “only love can put Matt back on track,” and his daughter has begged

the Court to allow Mr. James to remain with his family to experience significant future

milestones with her and so that her “brother [may] retain one of the few male figures in his life.”

Ex. 3 (R. James Letter); see also Ex. 1 (Milenia James Letter). His mother, who is aging and in

declining health, prays several times throughout the day that she may be able to spend her final




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years with her son, who supported her in her move to the United States and through significant

medical issues. Ex. 4 (A. James Letter).

       Beyond the James household, Mr. James’s friends and community members are similarly

prepared to face the years ahead by his side. “This world would be a much better place if there

were more people like Matt in it” and “I have always known [Matt] to be an upstanding and

valued member of our community” are just some of the sentiments that capture Mr. James’s

impact within his neighborhood. Ex. 28 (G. Pomerantz Letter), Ex. 24 (D. Kern Letter). Denis

Kennedy, Mr. James’s neighbor and friend, succinctly articulates the stance that all of Matt’s

loved ones take at this time: “[Matt] has offered and contributed a lot to our community and his

neighbors and can continue to do the same. Matt being in the community and with his family is a

lot more valuable than being incarcerated.” Ex. 23 (D. Kennedy Letter). It is clear from the

voluminous support Mr. James has received throughout this prosecution that he will be

welcomed back into his family and community with open arms and support.

       Turning to general deterrence, as discussed throughout this submission, none of Mr.

James’s many purported doctor-client co-conspirators, who undoubtedly collectively gained

significantly more money from the victim healthcare insurance companies than Mr. James, has

been prosecuted for their roles in the offenses at issue. Mr. James should not shoulder the

entirety of the wrong here and should not be punished excessively on the theory of the need to

promote general deterrence when the government itself has declined to hold others who

participated in this scheme accountable. In any event, Mr. James’s arrest and conviction were

widely reported in the press and are certainly known to the medical profession on Long Island




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and beyond.15 Because Mr. James’s professional and personal ruin has been so publicly

reported, the need for general deterrence does not weigh in favor a lengthy period of

incarceration.

        D.       A Significant Variance is Necessary to Avoid Unwarranted Sentencing
                 Disparities

        A substantially below-Guidelines sentence is appropriate to avoid unwarranted

sentencing disparities. See 18 U.S.C. § 3553(a)(6). First, Mr. James is not close to bearing

primary responsibility for the entirety of the purported fraudulent conduct or financial loss. The

PSR states that Mr. James had numerous “co-conspirators” including “several employees and

physician-clients for whom he and his companies provided billing services.” PSR ¶ 15 n.1. In

fact, “[t]he evidence adduced at trial revealed that the defendant and his medical billing

companies had close to 150 physician-clients” – each of whom were allegedly aware of and

complicit in Mr. James’s billing practices. Id. ¶ 16. Nevertheless, although the FBI identified

150 physician-clients who the government claims all conspired with Mr. James to commit

healthcare fraud, none of them has been charged, leaving Mr. James as the only person who is

being held responsible for any engagement in this “scheme.” This is despite the undisputed facts

that it was the doctors, not Mr. James, who decided when, where, and how to treat their patients,

and it was the doctors, not Mr. James, who were responsible for their patients’ operative reports

and the HCFA forms submitted to the health insurance companies. In fact, Mr. James’s




15
   See, e.g., Adina Genn, St. James man convicted of $600m healthcare fraud, Long Island Business News (July 14,
2022), https://libn.com/2022/07/14/st-james-man-convicted-of-600m-healthcare-fraud/; East Northport man
convicted of $600M in health care fraud, Newsday (July 14, 2022), https://www.newsday.com/long-
island/crime/convicted-health-care-fraud-east-northport-medical-billing-posed-patients-uaze4rvm; Damien Black,
Conman used phishing techniques to defraud insurers out of million, Cybernews (Nov. 15, 2023),
https://cybernews.com/news/conman-used-phishing-techniques-to-defraud-insurers-out-of-millions/.



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physician-clients regularly provided Mr. James with billing codes to use, and they would often

review the HCFA forms before they were submitted to the insurance companies.

            1.      Disparities Between Mr. James And Uncharged Co-Conspirator Doctors

        Throughout this case, Mr. James’s physician-clients have retained the vast sums they

have recovered from the medical procedures for which Mr. James billed. By the government’s

own theory, these physicians pocketed nearly 90%, or $540 million out of $600 million, of the

proceeds of this allegedly fraudulent scheme. And even the physicians who were featured

prominently at the trial have been totally unimpacted in their medical practices. None of the

doctors has lost their medical licenses or faced any repercussion for their alleged complicity in

the crimes charged. In fact, Mr. James’s physician-clients have not only continued to treat

patients, but advertise the same procedures and services about which they allegedly conspired to

overbill by hundreds of millions of dollars.

        For example, Deja Guzman’s surgeon, Dr. Amir Tahernia – who had Ms. Guzman

admitted and treated via the emergency room – extensively promotes his surgical practice on

social media.16 He regularly posts TikTok videos and Instagram Reels advertising his services,

including videos explaining how patients can get treated for hidradenitis, and tells his audience

that insurance may cover their procedures “depending on the plan,” while boasting that his

patients travel to him from around the country. Yet, Mr. James, who had no involvement in

deciding when, where, and how to treat Ms. Guzman, and who coded Ms. Guzman’s operation

exactly as Dr. Tahernia described in his operative report, faces a mandatory minimum of two




16
   Dr. Amir Tahernia MD (@amirtaherniamd), Instagram (Dec. 2, 2023),
https://www.instagram.com/p/C0UqZFLv_S9/.



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 years in prison and a Guidelines sentencing range of life imprisonment, not to mention the many

 other collateral consequences of his prosecution.

         Another example – Dr. Urmen Desai – who treated Marcus Smart, Samuel Brenner, and

 Susan Breidenbach – not only operates his independent plastic surgery business, but patients

 have continued to receive his services in the Cedars-Sinai emergency room.17

         On the testimonials section of Dr. Candido Fuentes’s webpage, multiple customers

 describe the emergency care he administers to young patients with laceration injuries – the same

 treatment that was administered to Sheila Sperber. Dr. Fuentes’s Instagram actively advertises

 his services and encourages patients to call his practice.18 If Dr. Fuentes dramatically

 overcharged Sheila Sperber for her stitches and was complicit in upcoding her health insurance

 claim form, it raises serious and substantial questions about why Dr. Fuentes has gone

 unprosecuted and wholly unpunished for years while Mr. James was prosecuted alone, even

 though Mr. James had no say whatsoever in Ms. Sperber’s treatment.

         Dr. Charlotte Rhee, Victoria Motley’s surgeon, has an entire section of her website

 dedicated to a “Mommy Makeover,” including “tummy tuck” procedures (the same procedure

 that witness Victoria Motley testified she sought from Dr. Rhee).19 On another page, she urges

 customers to call her office “for additional information on insurance plan[s] and coverage.”20 To

 the extent Dr. Rhee instructed Ms. Motley to go the emergency room for a tummy tuck and her



 17
   See Alix Tunell, The Police Broke My Nose at a BLM Protest. This Plastic Surgeon Made Me Look Like Myself
 Again, realself.com (July 9, 2020), https://www.realself.com/news/police-broke-my-nose-at-blm-protest.
 18
   Fuentes Cosmetic Surgery (@fuentescosmeticsurgery), Instagram (Nov. 27, 2023),
 https://www.instagram.com/p/C0J5ZqqOyAO/.
 19
   See Abdominoplasty in Long Island & Huntington Station, NY, Charlotte Ann Rhee MD (last visited Jan. 16,
 2024), https://www.liplasticsurgery.com/procedures/for-the-body/abdominoplasty-tummy-tuck-surgery/.
 20
   Patient Information, Charlotte Ann Rhee MD (last visited Jan. 16, 2024),
 https://www.liplasticsurgery.com/patient-information/.



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 hernia operation was just a cover story Dr. Rhee created, even if Mr. James was complicit, it is

 profoundly unjust that Mr. James has faced severe and life-altering consequences for this

 misconduct and Dr. Rhee continues her medical practice unimpeded.

         Similarly, Dr. Tamer Seckin’s website advertises the possibility of “certain insurance

 plans” qualifying for his out-of-network gynecological services, “if [the] plan includes out-of-

 network benefits” – which is likely the same coverage that Heather Quinlivan had, through

 which she applied for and received pre-approval before undergoing Seckin’s treatment.21 Also

 actively practicing without a single adverse consequence or loss of medical license are Dr. Mark

 Schoemann, Dr. Robert Jetter – who treated Denise Baker and Elizabeth Pash, respectively – as

 well as many of Mr. James’s former physician clients whose patients did not testify at trial.

         This significant and astonishing disparity between the consequences for Mr. James as a

 result of his conduct (e.g., a substantial period of incarceration) and the consequence for his

 alleged co-conspirators (e.g., no prosecution, no impact on their medical licenses or ability to

 prescribe controlled substances) merits a significant downward variance. See United States v.

 Wills, 476 F.3d 103, 100 (2d Cir. 2007) (“[I]t is appropriate for a district court, relying on its

 unique knowledge of the totality of the circumstances of a crime and its participants, to impose a

 sentence that would better reflect the extent to which the participants in a crime are similarly (or

 dissimilarly) situated and tailor the sentences accordingly.”); United States v. Nguyen, 508 F.

 App’x 39, 40–41 (2d Cir. 2013) (summary order) (affirming sentence that took into account co-

 defendants’ sentences). It is not reasonable or fair for Mr. James to alone bear the full weight of

 the consequences of this expansive misconduct while the licensed medical professionals, who




 21
   See Costs and Insurance Coverage, Seckin MD Endometriosis Center (last visited Jan. 16, 2024),
 https://drseckin.com/costs-and-insurance-coverage/.



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 swore an oath to do no harm to their patients, continue on in their lives and medical practices as

 if nothing untoward took place. While any term of imprisonment would result in unwarranted

 sentencing disparities between Mr. James and his alleged doctor-client co-conspirators, a

 substantially below-Guidelines sentence would best address the need to minimize such a

 dramatic disparity.

              2.        Disparities Between Mr. James And Those Sentenced for Healthcare Fraud
                        Nationwide

          Below-Guidelines sentences in fraud cases are exceedingly common. The Eastern

 District of New York’s mean sentence for fraud-related crimes is 15 months, and the median is 3

 months; nationwide, fraud-related crimes receive a 22-month sentence on average, with a median

 of 12 months.22 If the Court adopts Probation’s recommended sentence of 15 years, Mr. James’s

 sentence would exceed the highest end of what is typical in similar healthcare fraud cases in this

 Circuit. In United States v. Levin, for example, Judge Cronan sentenced Marianna Levin to 54

 months imprisonment for her leadership role in a large-scale scheme that defrauded Medicaid

 and Medicare by billing for services by home health aides that were never performed.

 Transcript, No. 20 Cr. 681 (E.D.N.Y. Feb. 1, 2023), ECF No. 391. Ms. Levin had a stipulated

 advisory Guidelines range of 87 to 108 months imprisonment and a loss amount of $25-65

 million, but the government claimed the conduct of Ms. Levin’s agencies caused more than $100

 million in fraudulent billings. See id. at 9:16–17, 10:10–14; Press Release, Owner of Home

 Health Agency Sentenced to 54 Months In Prison For Over $100 Million Health Care Fraud,

 U.S. Attorney’s Office, S.D.N.Y. (Feb. 1, 2023), https://www.justice.gov/usao-sdny/pr/owner-

 home-health-agency-sentenced-54-months-prison-over-100-million-health-care-fraud.


 22
    U.S. Sentencing Comm’n, Statistical Information Packet 11 (2022),
 https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-statistics/state-district-
 circuit/2022/nye22.pdf.



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         In United States v. Kaganovich, Chief Judge Brodie sentenced Tea Kaganovich to 36

 months imprisonment, with a loss amount of over $18 million (with an addition $7.8 million to

 be paid to the IRS for tax fraud) for “systematically and covertly pa[ying] illegal kickbacks and

 manipulated Medicaid and further defrauded the IRS.” Letter at 5, United States v. Tea

 Kaganovich, No. 17 Cr. 649 (E.D.N.Y. Aug. 16, 2022), ECF No. 131; Press Release, New York

 Diagnostic Testing Facility Owners Sentenced for Health Care Fraud Scheme, U.S. Dep’t of

 Justice (Dec. 1, 2022), https://www.justice.gov/opa/pr/new-york-diagnostic-testing-facility-

 owners-sentenced-health-care-fraud-scheme. There, the defendants paid a co-conspirator over

 $18 million in illegal kickbacks in exchange for access to patients for whom diagnostic testing

 could be billed to Medicaid. At the same time, the defendants deducted the illegal kickback

 payments as legitimate business expenses in their tax returns, resulting in an additional loss to

 the IRS of $7.8 million.

         Notably, many of the defendants who are sentenced for health care-related crimes have

 been convicted of submitting fraudulent claims to Medicare or Medicaid or for submitting claims

 for services that were never provided.23 While Mr. James recognizes that fraudulent conduct

 aimed at private insurance companies can still have an effect on the cost of insurance policies,

 Mr. James only submitted claims to private insurance companies for services that had actually

 been performed by real doctors. To avoid unwarranted disparities between Mr. James and his

 alleged co-conspirators, as well as similarly-situated defendants in this District and nationwide,

 this Court should impose a substantially below-Guidelines sentence.


 23
   See, e.g., Press Release, Long Island Chiropractor Sentenced to 18 Months’ Imprisonment for Multi-Million
 Dollar Health Care Fraud Scheme, U.S. Attorney’s Office, E.D.N.Y. (Oct. 18 2019), https://www.justice.gov/usao-
 edny/pr/long-island-chiropractor-sentenced-18-months-imprisonment-multi-million-dollar-health; Press Release,
 Brooklyn Doctor Sentenced To 24 Months in Prison For Engaging In A $13 Million Health Care Fraud Scheme,
 U.S. Attorney’s Office, E.D.N.Y. (Aug. 14, 2015), https://www.justice.gov/usao-edny/pr/brooklyn-doctor-
 sentenced-24-months-prison-engaging-13-million-health-care-fraud-scheme.



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 V.     ANY FORFEITURE, RESTITUTION, OR FINE SHOULD BE MINIMAL

        Finally, this Court should decline to impose a substantial restitution, forfeiture, or fine, if

 any.

        A.      Mr. James Has Complied with the Government’s Forfeiture Efforts

        Mr. James has cooperated with the government throughout this case with respect to

 forfeiture. As the PSR recites, Mr. James has identified ten bank accounts with a combined

 balance of $13,037,470.44, PSR ¶ 96, and various properties, vehicles, and securities that he has

 sold for the purposes of forfeiture, id. ¶¶ 97–100. Mr. James has spent hours selling these

 properties, compiling paperwork, and working with counsel to comply with the government’s

 forfeiture requests and process. In total, Mr. James has already provided $32,057,421.04 to the

 U.S. Marshal’s Service.

        Additionally, Mr. James has sold two more properties for forfeiture purposes that are

 reflected in the Second Addendum to the PSR. Second Addendum at 14–15. The first, a

 residential property at 9 Stoddart Court, Locust Valley, New York 11560, sold on October 24,

 2022, for $7,950,000.00. The second, a land parcel at 99 Cedar Swamp Road, Lot 48 or Lot B,

 Brookville, New York 11545 (also known as “High Point Court”), sold on July 20, 2023, for

 $2,575,000.00. See Second Addendum at 15. Mr. James has continued to cooperate with the

 government by forwarding the proceeds from these sales to the United States Marshals Office.

        Mr. James respectfully requests that he be permitted to maintain two of the properties

 listed in the indictment: 24 Forsythe Drive, East Northport, New York 11731. Mr. James and

 his wife purchased this residence in 2004 prior to Mr. James opening his medical billing

 business. Additionally, it is the James family’s primary residence, and has been for the last

 nineteen years. Second, 8 Richard Path, St. James, New York 11780, was purchased prior to the

 time period of the offense conduct, the government’s financial analysis of Mr. James’s bank


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 records began in 2014, and the government has not established that the property was purchased

 with the proceeds of any fraud. GX-2347, GX-2358. Therefore, these two properties are

 inappropriate for forfeiture and should be excluded from any forfeiture order.

        B.      Restitution, If Any, Should Not Approach $600 Million

        Like the challenges with calculating a reliable loss amount, the government cannot prove

 by a preponderance of the evidence that Mr. James caused an actual loss warranting anything

 close to a $600 million restitution order. See United States v. Finazzo, 850 F.3d 94, 117 (2d Cir.

 2017) (noting government must prove actual loss by a preponderance of the evidence for

 restitution purposes). Probation acknowledges that “the specific amount of restitution owed to

 each of the victim insurance companies . . . has not been ascertained by the Government,” and

 suggests that the Court hold an evidentiary hearing to “determine the loss attributable to each of

 the victim companies.” Probation Recommendation, dated Feb. 9, 2023; see also PSR ¶ 115.

 Indeed, Aetna and Cigna are the only two insurance companies that have submitted a proposed

 loss figure and for the reasons set forth above, those numbers are unsupported and flawed.

        As explained supra Section III, the government has made no effort to, among other

 things: (i) calculate the amount that insurance companies would have paid but for Mr. James’s

 supposedly fraudulent billing; (ii) exclude claims and CPT codes that were properly billed; or

 (iii) take into account the fact that Mr. James’s physician-clients paid back some of the

 outstanding claims both before and after Mr. James’s arrest. Where, as here, there remain

 “complex issues of fact related to the . . . amount of the victim’s losses,” which would

 “complicate or prolong the sentencing process,” the Mandatory Victim’s Restitution Act “shall

 not apply” because “the need to provide restitution to any victim is outweighed by the burden of

 the sentencing process.” 18 U.S.C. § 3663A(c)(3)(B); see generally United States v. Reifler, 446

 F.3d 65 (2d Cir. 2006) (vacating restitution order where government’s evidence about actual loss


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 was flawed). This Court should not rely on the government’s overstated and counterfactual

 estimate of the actual loss the insurance companies experienced here in determining a restitution

 order.

          Nor should the Court rely upon the estimates from two of the six purported insurance

 company victims, Cigna and Aetna; the other four insurance companies named in the indictment

 have not, after more than four and a half years of litigation, reported any loss to the government.

 See PSR ¶ 30; First Addendum. As discussed, Aetna estimated that it paid out a total of

 approximately $50 million as a result of Mr. James’s claims. PSR ¶ 30. And Cigna claims that

 it “paid over $33M as a direct result of [Mr. James’s] scheme of billing for services not rendered,

 misrepresenting the nature of the services provided and routinely impersonating Cigna customers

 with fabricated complaints of balance billing.” First Addendum at 2. Beyond the fact that there

 is no dispute that these claims concerned actually-performed and necessary medical procedures,

 neither Aetna nor Cigna includes any back-up or calculation for how they determined these loss

 amounts. And with respect to Aetna, as the PSR notes, it has brought a civil lawsuit against Mr.

 James. PSR ¶ 26.

          These loss estimates that two of the insurance companies reported, which suffer from the

 same issues as the government’s overall loss calculation, do not satisfy the government’s burden

 of proving an appropriate restitution amount by a preponderance of the evidence. See United

 States v. Schwamborn, 467 F. App’x 35, 39 (2d Cir. 2012) (reversing district court’s restitution

 order because it was “impossible to determine from the affidavits submitted by the government

 whether the losses alleged represent anything more than rough estimates”).

          In any event, particularly because much of Mr. James’s financial means have been or will

 be forfeited as a result of this case, see supra Section I.H, he does not have the financial




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 resources to pay any additional, substantial restitution amount, even if it could be reasonably

 calculated. A restitution order requires that the Court consider “the financial resources of the

 defendant,” the “financial needs and earning ability” of him and his dependents, and to determine

 whether restitution would complicate or prolong the sentencing process. 18 U.S.C. § 3663(a)

 (1)(B)(i)(II). Mr. James will not be able to earn any significant income in the future due to his

 conviction. As such, Mr. James and his dependents’ financial resources leave no room for a

 substantial restitution order here.

        Even if the Court determines that the victims did incur an actual loss that can be

 reasonably determined, and that Mr. James is able to pay it, any restitution order must be reduced

 by the amount Mr. James’s physician-clients returned to the insurance companies through

 clawbacks and negotiated agreements, amounts that the government has not calculated even

 though such clawbacks and agreements are known to the insurance companies identified as

 victims in this matter. See 18 U.S.C. § 3663A(b)(1)(B)(ii) (offsetting restitution by value of

 property returned to victim). And, of course, any restitution order should be made “joint and

 several” with every doctor the government claims was involved with or benefited from Mr.

 James’s misconduct, which the government asserts is approximately 150 doctors for whom Mr.

 James billed from January 2013 through December 2019 and who allegedly earned

 approximately $540 million from claims Mr. James billed.

        C.      The Court Should Not Levy a Fine

        In light of the substantial restitution and forfeiture orders that are likely to be issued by

 this Court, the anticipated term of imprisonment, and Mr. James’s financial means, the Court

 should exercise its discretion and not order a fine. See PSR ¶ 104 (“[T]he defendant appears

 unable to pay a fine.”); U.S.S.G. § 5El.2, Application Note 3 (“The determination of the fine




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 guideline range may be dispensed with entirely upon a court determination of present and future

 inability to pay any fine.”).

 VI.     CONCLUSION

         Mr. James deeply and sincerely regrets the hardships that his conduct has put his family,

 friends, and loved ones through over the past four and a half years. He understands the damage

 he has caused for his former employees and the healthcare industry more generally, regardless of

 the sentence the Court imposes. Mr. James also recognizes that the lamentable communications

 in which he pretended to be patients were misguided and problematic. And although Mr. James

 has suffered substantial consequences from his prosecution already, he knows and understands

 that a prison term is required. But, for all the reasons set forth above, an advisory Guidelines

 sentence and Probation’s recommendation is not warranted or in the interests of justice here.

         We respectfully submit that the mandatory minimum sentence of 24 months’

 incarceration is sufficient, but not greater than necessary, to serve the objectives of sentencing in

 this case.

                                                       Respectfully submitted,

                                                       K                 & LEWIN LLP



                                                  By: _                 ______________
                                                      P
                                                      M                 er


 cc:     All counsel of record (via ECF)
         U.S. Probation Office




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